Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 1 of 50 PAGEID #: 8




 EXHIBIT A
 Email from Lt. EricTaylor to Brittney Geurin [09/26/2023) restricting public record
 access
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 2 of 50 PAGEID #: 9



lityofHamil                                                          Brittney Geurin <brittney. geurin@hamilton-oh. gov>
   BUTLER COUNTY OHIO




FOIA request for case 23-009360
3 messages

Eric Taylor <eric. taylor@hamilton-oh. gov>                                                   Tue, Sep 26, 2023 at 2:43 AM
To: Brittney Geurin <brittney. geurin@hamilton-oh. gov>

  Brittney, pleaseto not release any BWCvideos , L3videos or anything related tothison going criminal investigation/
  prosecution of this case . Anything considered evidence has to be requested via the discovery process through the
  Prosecutor's office. In this case that request hasto be sent to the city prosecutor . Please compile whatyou can but do
  not releaseanythinguntil it has been reviewedby me . I don'twantpeopletryingto go aroundthe discovery processin an
  on going prosecution case. Ifyou have any questions please let me know . Thank you .

Brittney Geurin <brittney. geurin@hamilton-oh. gov>                                           Tue, Sep 26, 2023 at 8:09AM
To: Eric Taylor <eric. taylor@hamilton-oh. gov>

  Lt. Taylor,

  Received. The only record provided was the arresVincident report. The video was not released and the requestor is aware
  thatthis is an open case and hewould have to go through the discovery process. I will continue to work on the request
  andwillfollow upwithyou on the statusandthe records I will need helpobtaining,if available.
  Thank you,
  Brittney

  Brittney Geurin
  Police Records Supervisor
  Hamilton Police Department
   331 S. Front Street
   Hamilton, Ohio 45011
   (513)868-5811 ext. 1025

   [Quoted text hidden]



 Eric Taylor <eric. taylor@hamilton-oh. gov>                                                  Tue, Sep 26, 2023 at 10:34AM
 To: Brittney Geurin <brittney.geurin@hamitton-oh.gov>

   Awesome , thank you. I spoke with him yesterday and he stated he going want a whole bunch of stuff He basically told
   me thathe knows'thearrestwas justified buthe is a man on a missionin searchofa policyviolation by PO Crowthers .
   Whichpolicyyou mayask ? Hedoesn'tknowbutthere must be one accordingto him.
   [Quoted text hidden]
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 3 of 50 PAGEID #: 10




  EXHIBIT B
  Communicationsfrom Brittney Geurin reHectingdenial of records
            Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 4 of 50 PAGEID #: 11



CityBUTLER
     of Hamilton
           COUNTY OHIO
                                                                           Brittney Geurin <brittney. geurin@hamilton-oh. gov>



FOIA request for case 23-009360
3 messages

Eric Taylor <eric.taylor@hamilton-oh.gov>                                                                Tue, Sep 26, 2023 at 2:43AM
To: Brittney Geurin <brittney. geurin@hamilton-oh. gov>

   Brittney, please to not release any BWCvideos , L3 videos or anything related to this on going criminal investigation/
   prosecution of this case .Anything consideredevidence has to be requested via the discovery process through the
   Prosecutor's office. In this case that request has to be sent to the city prosecutor . Please compile what you can but do
   not release anything until it has been reviewed by me . I don't want people trying to go around the discovery process in an
   on going prosecution case. Ifyou have any questions please let me know .Thankyou .

 Brittney Geurin <brittney.geurin@hamilton-oh.gov>                                                       Tue, Sep 26, 2023 at 8:09AM
 To: EricTaylor <eric.taylor@hamilton-oh.gov>

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   and will follow up with you on the status and the records I will need help obtaining, if available.

   Thank you,
    Brittney

    Brittney Geurin
    Police Records Supervisor
    Hamilton Police Department
    331 S. Front Street
    Hamilton, Ohio 45011
    (513)868-5811 ext. 1025

    [Quoted text hidden]



 Eric Taylor <eric. taylor@hamilton-oh. gov>                                                         Tue, Sep 26, 2023 at 10:34AM
 To: Brittney Geurin <brittney.geurin@hamilton-oh.gov>

    Awesome , thankyou. I spokewith him yesterday and he stated he goingwanta whole bunch of stuff. He basicallytold
    me that he knows the arrest was justified but he is a man on a mission in search of a policy violation by PO Crowthers .
    Which policy you may ask ? He doesn't know but there must be one accordingto him.
    [Quoted text hidden]
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 5 of 50 PAGEID #: 12




  EXHIBIT C
  City of Hamilton SunshineLawPolicy document
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 6 of 50 PAGEID #: 13

           HAMILTON PUBLIC RECORDS RELEASE POLICY
       Openness leads to a better informed citizenry, which leads to better government and
better public policy. It is the mission and intent of the City of Hamilton to at all times fully
comply with and abide by both the spirit and the letter of Ohio's Public RecordsAct.
       A "record" is defined to include the following: A document in any format - paper or
electronic - that is created, received by, or comes under the jurisdiction of the City of
Hamilton that documents the organization, functions, policies, decisions, procedures,
operations, or other activities of the office.
       A "public record" is a "record" that is being kept by this office at the time a public
records request is made, subject to applicable exemptions from disclosure under Ohio or
federal law. All public records must be organized and maintained in such a way that they can
be made availablefor inspection and copying.
       Public records are available for inspection during regular business hours. Public
records must be made available for inspection promptly. Copies of public records must be
made available within a reasonable period of time. "Prompt" and "reasonable" take into
account the volume of records requested, the proximity of the location where the records
are stored, the necessity for any legal review and redaction, and other facts and
circumstances of the records requested.
        No specific language is required to make a request for public records. However, the
Requester must at least identify the records requested with sufficient clarity to allow the
office to identify, retrieve, and review the records.
       The Requester does not have to put a public records request in writing, and does not
have to provide his or her identity or the intended use of the requested public record(s).
       In processingthe request, the City does not have an obligation to create new records
or perform a search or research for information in the office's records. An electronic record
is deemed to exist so long as a computer is already programmed to produce the record
through the City's standard use of sorting, filtering, or queryingfeatures.
       In processing a request for inspection of a public record, a City employee may be
required to accompany the Requester during inspection to make certain original records are
not taken or altered.

        If the Requester makes an ambiguous or overly broad request or has difficulty in
makinga request such that the City cannot reasonably identifywhat public records are being
requested, the request may be denied, but the City will then provide the Requester an
opportunity to revise the request by informing the Requester of the manner in which records
are maintained and accessed by the City.
       If the City withholds, redacts, or otherwise denies requested records, the City will
provide an explanation, including legal authority, for the denial(s). If the initial request was
made in writing, the explanation will also be in writing. If portions of a record are public and
portions are exempt, the exempt portions may be redacted and the rest will be released.
When making public records available for public inspection or copying, the City shall notify
the Requester of any redaction or make the redaction plainly visible.
       Charges for postage and/or copies are limited to the actual cost of postage and
mailing supplies, or other actual costs of delivery and/or copying, if any. Cost of copying is
$. 05 per page for standard copies. A Requester may be required to pay in advance for the
actual costs involved in providing the copy. The Requester may choose whether to have the
record duplicated upon paper, upon the same medium on which the public record is kept, or
upon any other medium on which the office determines that the record can reasonably be
duplicated as an integral part of the office's normal operations.
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 7 of 50 PAGEID #: 14




  EXHIBIT D
  Transcript or summary ofthreateningphonecall madeby Major Brian Tinch
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 8 of 50 PAGEID #: 15




  EXHIBIT E
  Email from Barry Riley confirming conversation with Scott Scrimizzi
            Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 9 of 50 PAGEID #: 16
3R
3hief Deputy Barry K.... 1/3/25
Re: 899 to 800


He did call and gave me a synopsis of the problem. 1 cannot provide you details on what he asked for if
anything.


To be completely fair, I could have volunteered to call you and see if we could help calm the situation
down in hopes of avoiding any criminal charges against you.


To say he asked me to do this, I cannot confidently say that is exactly how it went.
mad ape that helps.
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 10 of 50 PAGEID #: 17




   EXHIBIT F
   Letter from Frost Brown Todd LLC threatening Plaintiff
        Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 11 of 50 PAGEID #: 18


                                                                                     ^IQSt^^
                                                                                    rown locj         ATTORN


                                                                                                Scott D. Phil
                                                                                                          Pai
                                                                                                    513.870.82C
                                                                                                    513. 870. 099
                                                                                               sphillips@fbdaw.



August 23, 2024

CERTIFrED MAIL and EMAIL




        The undersigned is legal counsel to the City of Hamilton. If you are represented, please
forward this letter to your lawyer.

        For some time now you have posted on social media and the City's website disparagmg Images
that are false, vile and libelous. In addition you have repeatedly called City employees for the exclusive
purpose ofharassing, inrimidadng and expressing libelous communication.
       This activity must stop. The City recognizes that you have certain First Amendment rights to
express yourself. However, you have crossed the line by communicating in a manner that is clearly
designed to harass andintimidate. This type of acdvity is not only counter to the FirstAmendment
but is actionable both as cnT il causes of acdon and criminal charges.


        From this point forward, any communication fi-om you to the City for non-emergenq- issues
must be made in writing to Assistant Law Director Brian Harrison. (Any serious emergenw
commumcation can be made by calling 911). His email address is brian.hflrrison@hamilton-oh. gov.
All other city employes have been directed to cease communicating \\dth you. If you continue to caU
City employees other than Mr. Harrison, the City will deem this conduct telephone harassment and
will pursue cruninal charges. If you continue to post vile and disgusting images of City employees or
representatives those individuals may pursue libel claims in Buder County Court of Common Pleas.

        The City has been extremely patient with your boorish and unprofessional conduct. If it
 continues the City intends to pursue each and ever}7 legal means available to bring this unacceptable
 behavior to an end.
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 12 of 50 PAGEID #: 19




   EXHIBIT G
   Video footage from January 2025 showing officers refusing to speak with Plaintiff
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 13 of 50 PAGEID #: 20




   EXHIBIT H
  Statement and supporting documentation of emotional distress
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 14 of 50 PAGEID #: 21




   EXHIBIT I
  Plaintiff Complaint and Hamilton Police Department Response
              Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 15 of 50 PAGEID #: 22
26/01/2024, 10:16                            Cilyof Hamilton, OhioMail- Re:Messagefrom "RNP002673EC6A3D"


                                                                  Trent Chenoweth <trent. chenoweth@hamilton-oh. gov>
 CityOUIltR
     _of Hamijtpn
            COUNTY 01110




  Re: Message from "RNP002673EC6A3D"
  1 message

  Trent Chenoweth <trent. chenoweth@hamitton-oh.gov>                                               Fri, Nov 3, 2023 at 3:20 PM
  To: Jeff Pyfrin <jpyfrin@hotmail. com>
  Cc: Scott Scrimizzi<scott.scrimizzi@hamilton-oh.gov>

     Mr. Pyfrin,

     Inreferencetoyourcomplaintpacketthatwassubmittedon 11-1-23,pleaseseebelowformyconclusions
     on the matter:


      1)ThecomplaintpacketyousubmittedelectronicallywasforwardedtoExecutiveDirectorJ Scott
      Scrimizzi on 11-1-23 for follow up on the portion involving himself andChiefCraig Bucheit.

      2)Varioussectionsofyourcomplaintreferenceanongoingcriminal casethatyouarenota partytonor
      haveanyinvolvement in. Thatwill haveto beadjudicatedtlii-oughthecourt systein.
                                                                                            f


      3)Inreference toyourcomplaint onLt.Taylor, Sgt.Thacker, andSupervisor Geurin, I havedetei-mined it
      to be unfounded.

      Inrecent weeks,youhaverequested a voluminous amount ofdocuments andvideos Weareworking
      dUigentiytoprovidethatinfonnationtoyou.Specifically,youhavesubmitteda totalof33l'e(luests-we
      have fulfilled 27 ofthoserequests with 6 still pending orpartially completed. Those numbers arenot
      inclusive ofthe additional request you submitted on 10-30-23.

      Capt. Chenowetlii
       On Wed. Nov 1, 2023 at 1:13 PM JeffPyfrin <jpyfrin@hotmail. com> wrote:
         I would like to file a formal complaint on the City
         of Hamilton Police Department, the Chief of
        I Police, Lieutenant Eric Taylor, Sergeant Mike
          Thacker, Brittnay Geurin Records Supervisor and
          Scott Scrimizzi Executive Director of Public Safety
          for their personal involvement and actions in the
          following incident concerning Public Information
           Rights, Civil Rights, and several violations of
           policy of the Hamilton Police Department.
           Attached is a list of the policies and procedures I
           feel were violated by the police department, its
                                                                                                           i. r. «ana7R'')7Q-lqAfiF,9ClR   i;ia
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 16 of 50 PAGEID #: 23
26/01/2024, 10:16                              City ofHamilton, Ohio Mail- Re: Message from "RNP002673EC6A3D"

       employees, and city employee. Also, supporting
       documents for the validity of my complaint. As
       well as an article published by the Journal-News
        on 01/20/22 by Lauren Pack.
        On 09/11/23 I entered the City ofHamilton Police Department, during regular operating business hours, in order to
        file a PublFc Information Request. I was initiaily informed atthe records information window that this needed to be
      : done online in'an email. } informedthe employee I hadcameto the police department in person tofite my^request i
      : was'then asked if I had the information I wanted written down and after I informed the employee it was written down.
        I was instructed to takea seatandwait.After beingcalled to thewindowtheemployee asked mefortheinformation 1
        w'anted.Tthen beganto recitetheinformation I hadwrittendownon mycellularphonetorequest. Theemployee
      ^ informed me again I hadtowrite down my request on paper. The employee was then informed 1 was not writing
        anythingdown.Thentheemployee beganwritingdownmyrequestas1 recitedthem to her.
       : Once I askedfordash camera and body camera footage again it was insisted that 1 fill out paperwork to be able to
        view'thfs7nformatton. Again,I informedtheemployee 1'was'notfillingoutanything,askedifshewantedto seethe
         cityofHamiIton'Policyonthe matter, andaskedtospeaktohersupervisor.AtthistimetheemP!oyeelurned^her
         back'to me, she threw her hands inthe air, and stated " I'm not doing this today". I assume shewent to find the
         supervisoL'dncethesupervisorwasinformedofwhathadhappenedsheinformedmei d}6noi[}aveto. mouta^
         paperwork. Uhenaskedif1 would befinishingmyrequestwithherortheemployee whowascleariy agitated. The
       : supervisor informedme I couidcontinue my requestwiththeciearlyagitatedemployee.
       1 ThisemployeeaskedmetostopyellingseveraltimesandinformedherI wasnotyelling, butratherrtwasdifficultfor
       1 me"to hear her an'd'Fwanted to make sure she wasunderstanding and hearing me due to_my difRcuity in hearing her
       i throughUieglass, smallwindowhole,andsmaltpaperslideatthebottomofthewindow.The""IYPereo"caustn9
         anyattention wastheclearly agitated employee taking myrequest. Afterall my itemswere commurucated_me
         emptoyee'repeated themto'meandtheywerecorrect. I lefta contactnumbertobereachedwhenlherecol,dsw8I'e
         ready/Fatsoasked"iflneededtoleavea depositforanyrecords.1 askedifshemayknowhowtongitwoutdtaketo
         obtainmy'recordsrequested.Thisemployeefoldmeitwouldtakea whileduetosome°fthere.cordsre^uest having
         togo'toa differentlocationinordertobeobtainedandredacted.Suchaspersonnelfilesand^PnordiscijPt""lclIy,
        : rerords^Sh'e informed me the rest in my information could beready bythe following week. Shethen recanted this
          statemenTandtold meshe did not knowwhen my request would be ready, t then thanked herfor hertime and !e
          poiice'station" Theonlyinfonnation < wasprovided wasanincidentreportwithnostatement offactslisted nothing
          else in my request forviewing was allowed to me this day.

          Thefottowingdayon09/12/23t receiveda messagetocontactLt.TayforoftheCityofHamiltonpoliceDePartment-
                ''retummgL't. Taytor's phone call. Heinformed mehereceived my records request andanytime [herejs a
        : record'sreque'st'of mylengthandnatureitgetsforwardedtothechiefduetohavingconcerns^ maybemedia
          'relied. i'tten'informed'"Lt:'Tayior I wasnoUhe media andhedidnot haveworry aboutthat, however I wasdisabied
          former law enforcement officer.


          I wasableto communicate myconcerns ofwhatI hadheardaboutanincidentoccurrins attheHamilton Police
          Depar'tinent finforme'dLt. Taylor I wantedtoseewhathadhappened duetoconcern theshared withme beingso
          unbelievabledueto my pastof beinga LawEnforcementOfficer.

           Lt.Tayiortoidmethisinformationseemedoddto himaswell Lt.Taylortoldmehewasgoingto!oorlntothe mattel;
           andaetbackwithmeinregardsto myconcern, t alsoaskedabouttheinformation 1 hadinquiredaboutandwas                told
           rt warb eingworke'don and would take time. I thanked him and stating again 1 just wanted theinfom1ationto beabte
           toseewhathappened,lalsoinformedLI.TaylorduringthisconversationthatonceI hadseenautheinformation f
           requested")"hopedI couldsaytheofficerdidanoutstandingjob.U.Taylorwasalsotoidinthisconversation_Th^
           'issues'between theofficerandcitizencould be handled incourt. i justwanted to seethe information. I reiterated to
           Lt. Taylorduringthisconversation. I hadhopedonceI seeailtheinformationI couldI saytheHamittonPolice
           Department dicTagreatjob. Hethen thanked me and told he hoped so asweii.

            Upon a followup phonecallpiaced byLt.Taytoron09/14/23 When I returned LtTaylor'SPhone^ca, l(-^had
           infomedmehehad'watchedthe dash camera footage which I had request and the circumstances leading to
                                                 .   ^. f-o ^^^^rtt->-^lffi. nrtT-rt\th;r(=4hro-3,   ,   ^.M7RnM49-'i4R?l7l6181%7Cmsa-a:r-89097827913465296.   -.   2/13
              Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 17 of 50 PAGEID #: 24
26/01/2024, 10:16
   '
                                      CityofHamilton, OhioMail- Re:Messagefrom"RNP002673EC6A3D"
                                                                                                                          much differently if he
       in cident. During this phone conversation Lt. Taylor informed                  me this incident would have gone

        was the officer involved in the incident.

        Lt.Tavlortoldmethedifference intheincidenthappening thewayitdid,andtheincident nothappen^ wasthe
        SffereTceb'etween anofficerwith24yearsexperience asopposed totead
                                                                      anofficerwith2_years^per^n^^with
        S^g"thleTacR"of ex'perience and knowledge of the officerwhich     to ^incident and                                 someone        more


        exp'enencidandtrainingwouldknowtousemorecommonsenseandmuch
       i 1 explainedtoU.Taylor1 couldunderstandthedifferencein^moretenured^xpene^offcer^f^ye^r^^
                       Jl^^ffic^'who^'onlybeenwithdepartmentfor2 years,i i"formed^Lt. Taylor_again^couldjafc about
       I l^js^s'In^again andiatt'JustwantedtoteikaboutpoliciesandseetheinformationI hadrequested. I
       I reiterated this point several times in ourconversations.

            1 eventoldLt.Taytor, I myselfI would"profile"thevehicleinthe'""dentandanyonewithanysensejo^We^hen
            L^T^^s^'on^^^n                  ^^ ^<an^K^^to!dme'^f^w^"ei2eh^i^
             ^au<av^d^rH aumiiton'P'oi^e Department co^^^^^^
            S9 aannda ^t^lel^ou^esTffi^s'topr^icTthisas{^^^^      i told him whatever                                   then                       its

            it's called nowit'sstii!"profiting" and I wassurprised it wasaloudnowin policeworK.

          LtTaylorwasinformedtherewasno{Taine'd'andthe
                  yl                      doubtboththeofficer anddealt
                                                                 ^vid^alwejebomj^g^nj^d^^^
               Ho^CT"tuhe"^c'et:'has"been              citizen              tra!nedjhere;ore;, offce^
                                                                                        he         with was not                    the

        : KdHh^kenrownnebo£err^S^^^^
        i   SdcaSSTned £"oadKySr^agrs ^^^^^u^^^^^   oB                                                                                             it

            toTou^Tscaovue7^hTe7ourt:sowhe\herTviewed                             thefootagesoonerorlater1 wasgoingtoseethefootage
            requested.

            LL Taytor said he wouid allow me to see             dash_camera footage due to_my^past expense wth. ^enfojc^m^t^.
            Kfo^dtT'T'ay^^uTdb'e inHamHtonon09722/23and fcouidme^
                      ^dylhe woufd'inform Sgt. 'Thacker'of^City
                                                      of Hamilton Police Department of                                   me-incident ^eca^e^
                                                                                                                           time with Sgt. Thacker
            ^u!dct^7uSeudacndTcou uldmee^ith hrm l'U. Taytor and i agreed to                        a 15:30HRS to meeting

         ^ as to not interfere with roll call or beginning ofwatch activities.

            ! U.TaylorwasalsoaskedifI couldpick"Pa"y^el:docum^ts oilo9SS^fo^^l£ ^^S, as
             fow^o^d^gt^ener^
             ru^Tto'ke^a1 'Snderwththemin'my'cruiser e"fofcement l_informed!;t, Jaytor, 'Ja, g^n,9i
                                                                             when 1 was with law
                                                                                                                                          s


             LS^^Sd ^^^^e^nd^dfo^l^^J^
             SeTh^d"e^myenTbye^sei"wasTnteresIedi^those things.U.Taytor^aidhe^uld doallhecouldformeandhave
                                                          when I met with Sgt. Thacken
             anyfortheFdocumentatro        n available to me on          09/22/23


             When! metwithSgt.Thackertoviewthedashcamerafootageon09/22/23atth_eCUy ^^"to^p^e^
             DvepT^t7wa7taken"toThefonr>al    meetingroomtoview^peonlhe^oje^on^onjt^^^^
                    i[;he r^do^n'tl he7ash"camera'screenand informed him I wexlawenfor^menl^ffce^and^ew
                                                                                                     was

                           fthe°^reen. "Whiiewatchingthescreen1 askedabouttherebeingnosoundal°"9wi^ash^mera^
             ?o°o^heew?^S^WS. ^S^
              £S^rTaecZdSe'd^u^                                                                            his vehicle you could hear his commands
              ;!ye^dhlf£ThesiSSrw?hZ^m^uH^v°e;^nftTo^
              on the microphoneon the dash camera.

              1 wouldliketonote.Thesoundforthedashcamerafootagedidnot       workonmypersonatcomPuter^her, Ho^e,veJ,
              LW^IUcopTesuof^ footage l^ made and given to others. They ali say the sound works their copies, it's hard  on              so


              to determineexactlywherethe errortie in this.

                          hinq the video with Sgt. Thacker I found the footage
                                                                                             of the officers   '"vestigationand^ubseqyentarre^to^
             : S ^stSt TtrSswla"nd^gre^                                                                                        Thacker' could watah

              the rest camera footageat my house.

               1 alsoinformedSgt.Thackertheincidentcouldhavegone differentlyIand he^viou^sag^ed^Rnd^g^
                                                                              requested him to stop playing the footage. did
              waoyng^g1 ^ toywh'atawa^e'en"inthe"dash'camera'upto the                        point


                                ,
                                                                         r^^ll&oermthid=thread-f:1780844234621716181%7Cmsg-a:r-89097827913465296... 3/13
                                    ;nn;!/-fO^C^7^/?hy1Ai«ai)t/=rttAc;f^ai
                  Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 18 of 50 PAGEID #: 25
26/01/2024. 10-.16                                     C'tYofHamiiton, OhioMail- Re:Messagefrom"RNP002673EC6A3D"
      "notknowifthisdisagreementwasduetoSgt.Thacker-s lackofexperiencealsoorhisoverbearing, dominant, and
       pious attitude he demonstrated during our meeting.

      : Due to mv previous conversation with Lt. Taylor in reference to the inexperience of offi<;e!-sauhlHamlltonp, oii,ced,
                   ;nne^oTdS^eeu<anwdl ^derZnud'by^
      . S^^^^ramandl;m^^sN^^^                                                                a
        feS^thTSepartmentrmwry'certain ifI wouldhaveperformed asthisofficer^"ducted_himsel^and^it^^
           SyhtT?rf SS^oT^su^n/fsoTl^^^^^^
           S^Sl ^rl wift FheTepartment However, my issue is with the Public Information Request I've requested.
           I informed Sgt.Thackerduringthismeeting,asI didwithLt.Taylor,thatI ^dno^wan^otef^abo^tete^th^^^i^^
                                                                                      of the department regarding this
           ^^d'a'Su^efa^Tn ^u'rt'llu stwanteTtotaik                      and
                                                                   about the policies       procedures
           officers conduct.

           I didaskSgt.Thackeriftheofficerwasfoundtohaveviolatedanypolicieswouldifhew^uwbe,he;dtoJhe,saS^
       ;   LSS^^SS^^ S^ ^yl S^v^^^w                                                 officer
                                                                                            mette[ifthe
                                                                                            found to violate       was


       I any'poiicyhewouldbeheldtothesamestandardsashemeasureduntothecitizen.
                 it.Thackerthenprovidedthedashcamvideo,arrestreportwi^complete_narrativ^an^th^k^g^^^^^^                                  a f.te
           ro9meftro 'tTkel St mue. lt"^ked again'abouf the policy and general orders U: Taytwa^ Ihad^s^d^n^
                                                                                              as

       : £/^2tT^^SedTyTgta%c^rThaTw^^^^                                                                                                   ^^



            ^^^^^^e'S^^J^meC^
            Sleldi'n"edT^d>i'toTd Twould follow with LtTaylor
                                    him                up                 when he returned to work. Sgt. Thacker-s BWC footage
                                                                                                                               is

            availableforthis.Youcancteariysee andhearwhattranspired.

            I would like to note I requested this BWC footage          part^f^aP^^^
                         iVha^riswtatehingon"thecomputeTtsthesamevideoI'mwateh(n9ontheProiector^wou^uS
                                                                                                                         Sf^ike
            SdnwtestTHhaa£SPW^e"K
            £eTm^raSS"^STw^^^^^
            ^sTapSewZ^9and ^asTrov^^^^                                 re sted were dearly violated. However. at this point I wasn't
            ^nscSew^'^ ^ts^t^cifeens"who                         was

            sure.


             WhenLt.Taylorreturnfromdaysoffon09/24/23. 1 hadShechancetodiscussseverald^rePa[1cie5Jn^e^cer^,
            ^ ^nd'^SZyZp^d^nuthrd a^cam^                                             officer who         and
                                                                                                    was an                was on scene


                n~ot'listed in the report or any documentation of the incident.

              I askedLt.Taylorifhemightknowwhotheofficermayba.t describedtheind;vidua^ndLJ. ^ayl^ske^m^^e
              LSstendhL^7b^dTOrTslSs^e'^!^^^^
            i ?oeoTa°gTlasSelT?hsecnTs^^^^                                             have be in ^tactwith the

                Village of NewMiami for information.

              Lt.TavloradvisedmehewasunawareifNewMiamistiilhadPoliceO^ers. l foundmis^ddf^^S^^
            ' ^d^^^^^a^;^^partmentdlsbanding:Howevenjted^o reasonwhyLt.Taytorwouldn'tknow
                iFthe'viilageofNewMiamihadPoliceOfficersasitisa neighboringjurisdiction,
                However.Lt.Taylortoldmehedid^kn^who^wasjw^d^^^d^^^
                     'tofcS Th'isi'sodddue'toLt. Taytortellingmehewatched            thevideoonorab^uto?(14/23^,
                                                                                                                 ^^
                                                                                                                 suf,ife'^,
            ;   Sebl^inalbl%Sl son°eaaofahuies lofficerTnycuamTra>afo^g'e if" he'wouSd                      obvious
                                                                                               have seen him. It was very                you

                 watched the dash camera footage.

             . \ toldhimI wouldappreciatehimlettingmewhotheofficerwas, becauseI was90'n9tob^ma. kin9^p^c,
                h^t'ion^uTsrro Fmru ^^^^^^^
                SeZnTo;^cutTnoTm'atch'ingthe thehorrifFceventsseenonthedashcamerafootage, andlackofinformation
                 documentedor articulatedbythe arrestingofficer.

                 tt^^s^s^^^a^:^^^^^^
                                                                            nth, ri=thr^ri-f:1780844234621716181%7Cmsg-a:r-89097827913465296,..   4/13
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 19 of 50 PAGEID #: 26
26/01/2024. 10:16                    CityofHamilton,OhioMail- Re:Message(rom"RNP002673EC6A3D"
     "seen everything" I wouldtotally understand the events whichtook place inthis incident during this phone
     conversation also.


     I would like to note dueto Lt.Taylor's email thread on 09/26/23. 1 had notviewed or received anypolicy or
     procedures on thismatter asofour conversation on 09/24/23 thiswasjust general knowledge based on common
     sense.


     i also had a discussion with Lt.Tayior. during this conversation, about the officer cleariy committing the same traffic
     offenseshecitedthe citizenforleadingto theirarrest. ! usedthefollowinganalogy:

     Ift pullsomeoneoverfordrinkinga beerwhilethey'redriVtng.1 wouldn'tarrestthedriver, puttheminmy^back^se^of
     my'cruiser. 't'henonthewaytojaTlcrackopena beerinthefrontseat,anddrinkitonthewaytojaiiwiththeminback
     seat.


      I explainedtoLt.Taylorthiswasanextremeanalogy howeverheunderstooclthe,. l"neanin90fthe,a['t'dote^^-t-Jaytor
     toidrme hewould watch the tape again and see who the officer was because he did not know and then contact me
    : thefoitowingday(09/25/23. ) Beforeendingthecallt askedLt.Taylorexplicitly"Areyoumycontactinthismatter?"
      Lt Taylor stated "Yes".


      I'd like to note as of 11/01/23 theVillage of New Miami does have a police department. Furthermore, a Lieutenant at
      then'eighboringjurisdictionshouldknowthisbasicinformation SothiswaseHhera flatoutlietodeceiveme,oran
      immense lack knowledgeandtraining bya ranking officerin Hamilton Police Department.


      inmyfinalconversationwithwithLt.Tayloron09/25/23.LI.Taytortotdofmetheheunknown
                                                                              watchedthevideo^could findno
                I'doing'with the officer or his actions. He also provided the name                        offf cer   as
                                                                                                                          officer ,   ".


      Leisi^8e'i:,'"Hamilton~MunicJpal Police Department, asseenonthedashcamera so I could nowrequest thisofficers
       body camera as well.

       I also inauired ifSgf. Thacker had hisBWC activated when 1 metwith him on 09/22/23. Because I would be
               tina'thatfoSaaeasweil. i did betthe lieutenant that boththe sergeant and Officer Liesinger did not have their
       BWC'abated aTthe'time Qf~interactions with myselforattheincident. I'mvery_happy to sayOfficer
                                                                                             Hostthisbetand i^BWC
       ^ppea?sb'oththel ser'geant and Officer Liesingerdid have their BWCactivated. Because                  now               Liesingers
       has become evidence also, and all because I asked to view his BWCfootage.

       This isvery oddbecause noonewould haveknown Officer Liesingerwas atthescene ofthe'""dent unless^had
             fthatoutforeveryone^ItwasabundanttydearLt.Tayiordidn'tknowhewasonsceneattheincident.IJhen
       pointedout'ciearcommonsensediscrepanciesonwhattheofficerdocumentedhappenedandwhatyou <
      i clearlyseehappeningonthejustthedashcamerafootage{wasprovided.
      ; Lt.Tavlorcontinued tojustifytheofficersactionsinthisphonecall.1 could_notunderstandwhatLt.Taylorsaw^in^
      ; watchingthe'video'ono7about09/14/23andthenagainonor^about09/25/23thatchangedhisviewssodrastically.
       Otherthan myquestioning the actions ofthe Hamilton Police Department.

                 i thisfinalconversation on09/25/23. 1 specificallyasked Lt.Taylorthefollowingquestions aboutthedash
        raimera"footageheprovidedmeoftheincident. AstowhyhenowfoundnowrongdoingintheOfficeractionor
      . conduct.

                                                                                                                                   school
        You don't think going 70MPH in a 35MPH zone in the middle
                                                                  of the day on              NW
                                                                                                  WasNngtonBlyd by             a
                                                                                                                                            to^tch
             >to"acarfor'a'minor traffic infraction isn't excessive? Orwas the officer a in pursuit? Lt.Taylor then asked me;
      : ^uid"see'thaton'thedash"camera heprovidedme. I toldhimyes.Hethenexhaledasifhewasstunned I hadseen
        this.

        I then asked Lt.Taylor howthe officercould see one ofviolations the officer haddted assee"n9_tead'n^toan^
        arrested. "lfthe"officers headwason a swivel, backing out ofdriveway, with a carclearly aPProachin9 his cruise^
        poFnting'outto Lt.'Tay'Iorlfyour headismoving backandforth ona swivelyoucannotseea violation momentary
                                                                    ,. h^-4t, ro., rf-(. -i7RnRd<i9MR9l7lfiiaio/n7Cmsa-a:f-89Q97827913465296...      5/13
              Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 20 of 50 PAGEID #: 27
26/01/2024. 10:16                     C'lyofHamilton, OhioMail- Re:Messagefrom"RNP002673EC6A3D"
   : violation occursucha somestopata stop sign.Withthelackofexperienceintheofficer,whichLt.Tayiorhad
   : previouslycommunicated, 1 foundthisverydoubtful.However,Lt.Taylorfolditcouldhappen.
     Lt.Tavlor alsotoid, me inthis phone conversation, itwaspossible to the Identitythelicense plate ofthe approaching
     ^araccuratelyas'articulatedintheofficersreport. 1 thenpointedoutasyouclearlyseetheinvideovehiclehasno
     front license plate for the officer to identify.

     Lt.Tavlor assured mewhilethe officers headwason a swivel, backingoutofa drive, making sure the car
                Fhi's'backingvehiclewasstopingastohithimwhilebackingasanynormal humanbe(n9wouiddo-The
     ^ffTcenwasltiiiabre 'tov'iewthe'ficense p'fate clearly by the rear piate, and see very vividly the fail to stop for the
                                                                                                                        car


                ~Wh!Ch~{hevwere notcited inthisincidentleading to theirarrest, dueto "officerdiscretion. " From myown
     pe'reonTnowiedgeand'expenence asa lawenforcement officer.Whohaspreformed thissame maneuver thousands
     of times I knew this answer was clear absurdity.

     Then I asked the lieutenant if he completed a FTC incident report dueto the Pursuit Policy ofthe Hamilton Police
                             "Ffoundby researchingtheinternetduetonotbeingprovideda copyofthe policyand i
     wd'erstike'l requested on''09^l72'3 andbeinggenerally interested inthefactsofthismatter} dearly statesmust be
     completed in al'Spursuit and FTC incidents. Thiswas a FTC so I asked.

    ! U. Tavtor told me hedidn'thavetofill outthatdocument. I asked againaboutthe policy andreiterated^ specificaliy
          rm"alll purs'uTts'and~FTC incidents a supervisor must fill out this report. Lt. Taylortold me,that. aFT.CreportIS only
     I compieted^whenthednver getsawayandthisincidentendedwithanarrest. Therefore, nodocumentation was
      needed by a supervisor.

      i-ddearly liketo apply thissame logicto anofficerwhohasa useofforce inarresting       anoffenderThe, SUPen/isw,
      does7otj rhaveto'do'a      offbrce report because the use of force incident ended with persons arrest. Using is
                                use
                                                                                                                   a


                     "time a useofforce report needsto documented. Iswhentheofficerusedforced on someone, in 1
                     .



      'courseofan arrest,andtheperson evadestheofficerandrunsaway.Onlythena useforceofforce i
      done because forcewas used on a person and the person evaded arrest.

       I wouldthinkanypursuitorFTCincidentasthepolicydearlystateswouldbedocumented bytheshiftsupervisor. As
       a pursuitorFTCincidentbothcauseofficersto usesomeformofexcessive action.
       I theninformedLt.Taylorthiswasa policyissueapparentlynotbeingclearandthatshouldbeaddressed. ^inform^
       U.'Tay'ioN'wasgoing'torequestthatinformationas'welltoshowitwasnotdocumented.U.Tayiorclearlydidnot I
       this. By his hisJovial smug tone during the cait.

       Lt.Tavlor wasthen asked iftheofficer cited the citizenfortwostop barviolations, a window«"t., andarrested them
          . pTc" Whydidn-Uhe'officer'cite themforfailing to stop atthefirstsignwhen hei"itia"ysawthewh!de?Hesaw
       aund ctearivd'ocumented'this'action and did include iton'the charges. Lt. Taytortoldme the cateha!l cover up phrase
        5'DoTice'officereyi -76fficer Discretion", the             he gave about not seeing the ^ficer^:ommitttn9_sevel"al, stoP
                                                            same answer

      ; ba^'i'oteti'ons'and "rolling a'sto'p'sign-whOe transportthecitizentotheHamilton PoliceDepartment sotheycould
      i booked into jail.

        Lt.Tavlorusedhisown"officerdiscretion"intheseinstancesandsawnoviolationswhenclearlyyou^canseejhem
        onthedashcamera.'t'wishsomeofthissame discretionwasgiventothecitizenwhowaschaseddown,citedfor,
        ariduitimately'arreste'dat gunpointforcommittingthesestopbarinfractionsandwindowtintinfraction.
        I informed Lt.Tayiorthat I did not knowstop barviotatEons are a bigproblem intheCity ofHamikon butj wasgoingto
        find"ourH ethe"ntoid"me stop bar violation were in fact problem in the city. Lt. Taylor then totd me stop^bar and
                                                                                   a
                                                                                                                               a


        stop'signarethey'sameviolationcodeintheORC.Thistrueabsolutelytrueandaccurateinformation!
      : 4511. 43.

        However, the general pubfic does not know a stop bar
                         "
                                                             is actual violation of?eneral, Pub!;ck"OWSJO, ;stoP a{
                                                                                                      law.   The

        ass ign. E^en'fte daiTy                                   ^cludjng Taylo^of
                                       activity logs fiiled out by supen/isors.
                                                                                     the
                                                                                         Haml!tonc!typo;re^
                                                                                                     Lt

              ^'^efeTto a stopsignviolationsasdocumented'in theirEOWsummaryand^ey.isnotrefe!'ence_to^stoP,      bar,
                                                                                               of the actual stop bar
        ^rali'on's.Tec^seZe^Qne knows you have to stop at stop sign and not everyone   a                               aware

        violation.

                                                   .   _^*. 0-_^-At<_/»ttfr^rt^,   ^h^-ih^^-f.i7snRd49MK?l71Biai%7Cmsa-a:r-89097827913465296... 6/13
              Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 21 of 50 PAGEID #: 28
26/01/2024, 10:16                     CilyofHamiSton,OhioMail- Re:Messagefrom"RNP002S73EC6A3D-
   ; TheLieutenantalsotoldmetheonlyreasonitseemedlikeI wasaskingforatithisinformation wasb^cause^so^e
   ! ^^S^Z^i^i^S^^^^^^alt t^
                                                                                                           toid
                                                                                                      them
     hi^TeI^IdteuarfyInd bIunUyiwould'do'this for anyone I knew if I did not believe what happened to               was


     correct.

     TheLieutenantcontinuedandinformedmeI wasapartofthecaseI wasi"ctuinng_thejublic'"fo^ionafa^Inan
     e^rt^^^^tel meurt h:nlasked'9fTwas going to ^called^awHn.   ss^th^^^^^nding
                                                           information about what had happened.
     ^aTte;UHe";hen"inform6d        me   rw as'apart of Fhe case by asking for

         1 askedLt.TaylorifmypublicinformationrequestwassenttotheCh^HetotdmeUw^^a^ed^m ^^ ^
         bS^waaro7m7Fepquuuesot. !'UU'T^toTto^^^^^^
         ?oeSeTyr^°blimynSton"e^                                      cu;nmuraG?fo. meJ^meon1yreason{ hadreceivedthe
         informatro npr'ovidedto'this point was due my past experience with law enforcement.

         I thenexpressedtoLt.TaytorthatI wouldencourag^heatizen^^a^m^^^

         rightsbeingviolatedasweti.

     : Lt.Taylorthenbegantomockinglyencourageme^o^ake^^queste^^OJd;teJ!^^a^w^^^
     i
          conversation.



     : ^^"^^!SS^a^^^^^
          Municipal Court.



              ^e"£uTtowb'Jng Iaskedl abou/this"BWC'being'ac{ivated in    our meeting when I was   provided the dash cam 1
              on 09/22/23.


              ^?^^^^svs^^^^
              around the discovery process.


              Ms.  Geurinclearlyunderstood
                                 .            t^o^given^L^^^^
              tL'rTay1^'duTto"airm y'pubiic"information"requeste being  forwarded to Lt. Taylor for monitoring.
                                                                                                                  beapprovedby

          -

               any information.

               Ms.Geurinresponded"Ms.
                                   totheEmailfromH. Taylor^had^receJved^m^s^^       ^^gi^ ^copy
               ^Tnudd'ertTepourt. vGeuFin~advised~U; Taylor            dash
                                                                   she had not
                                                                ?iven       cam     fo^otag^o^n^
                                                                                      me the            era

               ^ SnetbS£eTw^sTo S^^                                        of discovery with                       me court due

               this matter being anopen case in Hamilton Municipal Court.

               1 wouldtiketonote,duetoMs.Geurin-sresponse_totheemailsentbyLtTaylo^I ;aPPea.rs,she, wa^warlsgt-
                                                                                    had requested. Because I
               TSi!l^duallreacdyu ;rewuedand^ve^me"acert^^^^^                                                               was


               cl'eariy'nofsupposed tohavethedashcamerafootagealreadygiventome.

                                                               -,i,^.^^=,hr«.ri-f.17fin844234621716181%7CmS8-a^-89097827913465296... 7/13
               Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 22 of 50 PAGEID #: 29
26/01/2024. 10:16                                 CityorHamBlon, OhioMail- Re:Messagefrom"RNP002673EC6A3D"
     "InLt. Tavior'sreplyhegoesontoindicatetoMs.GeurinI'ma manon             a missioninsearchofjolicyviota^on^he
      la^lstm1;^rc erH ecoyntrn ued communicating with Ms. Geurin tha^t I^s.caiy k^w t^e ^^jUS^d. ^He^
      SS'^nTon^^^^^^^^9^6 mewith                                           [nfo^afon^w^"o^upp^sejto^^. Hejust
      ;^rt hte';;m[el ^tcriticizeZmy"aclionswhiTe"convenientiy leaving out his unethical and apparent criminal
                                                                                       own

       behavior.

                                                                                                                                    other
       I would to address U. Taylors comment I "basicaHy" knew      ^^^w3sn K^in e^, b^^^
       ^^rm^^e^ers^onswerelustifietf-oranythi^e^
       j^Sl ^t^^me^ofHamHtor{a^^hows^^
       STon^^IuS;ted."W^ywouldTwanttobe"a manona mission"tofinda poiicyviolation?UnlessLt.Tayloris
       implementing my actionsaredisingenuous.

      ; f'act's'^t'hrs
        Lt.Tayloractually  commentedinthephone^n^rsat^on^9/W^
                      ^^terT h'e'conversationsl've with employees
                                                      had         Hamilton Police and Hamilton City <
                                                                              at the

        have been documented, recorded, and logged on my behalf.

        This email is the only document the city of Hamilton
                                                               Police Department has about an_y        Pho"^onv^atio^ Paining
        1^^ £s^^ ^^'^^^sei'?:^^?^^                                                                                             voice
        S^sTn^'r^'to^mater'1 Unles's'youhavefaiiedtoproducemewiththesedocumentsafter
        acknowledgingthey do not exist.

        Thesecomments madebyLt,Taylorare veryassumptive, unbecoming, anddonot co'nad^w;th,mycomm, ^^^
        XenSTaeSytj %nLg'reaa^^^^^^^
         before I began questioning the Hamilton Police Departments actions.

       ; Thisemaifchain,betweenLt.TaylorandMs.Geurin.explainsbyitselfwhyIwa^asted^n/attime^ich^ecific
             ;^T^shieTtouvteTafter<ha"d7equestedto~seeallofthemJwasalso;askedmut^
       ; K^?fdItoo^Tsecrib^hT^^^^^^^^ ^sToo^ngfo^'sotheTcouldJust'providethosespecificpolic/sandnot
         ail of the policies which I'd ask to view.

         Thisemailchainalsoexplainsve^cte^yI w^no^uppose^o !;^ha^;^ro^^^^^^^
         p^i^datcTbTby"theCityofHamilton"PoficeDepartmentbySgt.Thacker,actingonbehalfofLtTaylor,actingon
          behalf of the Chief of Police.


        ^ Lt.Taylordidn'tacknowledgeinhisresponsehehadaIrea^provMed me w;9;,,m;^VMe^n,
                                                                       ,               ^a ^nS
        : ^nZguc^na;t^7^ye°HamHtonTunicipa^R^^^
          pnefoSfnt, '^d righUo'over'see'the police department      as   a   private citizen.   This document was provided to me on

             10/27/23.



                         }7oTsll^e^onnitoZgby^eTheChie7ofpoticewhowascE^^^^^^
             B3s£i?Sii^Ji^ii|^=SSt
             ^bSltr^nRceeqDuye^b6^^^^^^^^^                                     ^monitoring if ^request cannot be f, l!ed within 5
             days. He did not answerthe question.


         -



         ; SS^^^S5^^Ss^^M-ttyw

                                                                                                                                                .

                                                                     ..,_, -,_"-"--. /. -i-7QnQ^^-30^Roi7iRiftl»/,7r:m<;a-a:r-89097827913465296- 8/13
               Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 23 of 50 PAGEID #: 30
26/01/2024, 10:16                                 CityofHamilton,OhioMail- Re:Messagefrom"RNP002873EC6A3D"
      chiefasshehadpreviouslyimplied.Ms.GeurinagainadvisedtheChiefwasawareofmyPublicInformation
       Request.

       Intheemailreceived, 1 alsoprovided a reasonfordenialofsomeo^y^quesUnjedJtwasJn^ate^a^^^
       lp^vrc ted'S'coTy°ovKhed7sh'cam1ootage\dueto^        obvious Ms. Geurin ha^notknown Lt. Taylor had already
                  FCOU^in' my^^uesrp!aced"o3 n09ni723:"lt          was

       provK'methis evidencein anongoingcasepending IntheHamilton Municipal Court.
       Thisinformationwasupdatedinanemailreceivedon09/29/23whichstatedI couldn^thawthevide^o^he dash
       ^^S^i^^^^'^^^ingca^n^H^^M^^^^
       ^taTn^rs uSmation by'discoverywith'court':However, it provided for viewing and copy certified of this
                                                                             was                                   a                         was


        given to me on 09/22/23.

        This email received on 09/29/23 in regards to ^        second PubHc Informal^R^^ai^e, ^^^^^^^^
        L-^iS'e^'BWCfootagealso'jyTiketopointoutagainnoonekneworwasU doc:umente^offtc^r^esi^was at
        U^^ru ntarpo^edtteout'EvenaTaytardidr^tknowhe^^
        U'esingei'BWC'it'becomesevidenceinanongoingcasependingintheHamiltonMunicipalCourt.
        It'sclearanorderwasplacednottogive^a^h^ToJn^est^e^^^^^^
        EwTaTteTgSmem'edash'camera inanongoing"pendingcnmnal caseintheHamilton Municipal Court.;
        understand'why'l have been denied this information as of 10/27/23.

         Its a shame that we will know if anyone else had requested
                                                                                   the information from    officer_Liesin9erli tvfould,^vl
         ^^^^^^^e'b^^^i^iordlv^in^mato                                                            a pendingca^^sotg"^th^wo^b^1
         ^^Se SSS.'?i^^^^Ii^^y^^ is^^rm^^^^^p^^^
         to"a^r^vThTngTThTso"rdercamefromLt7^^^
         tquS^aSQoni^nTng^1^ fruthTthe"^ente:an'd Ms;Geurin-s supervisor Captain Chenoweth.not

         This very unethical.

                Dite of all this resistance by the Hamilton Police Department
                                                                                        I continued to place    requestjOTJ^rformafe^^nd
         ^iS^t mc;smSTinTeeff^^                                                                                             other!nformationwas
             ^ot'av'aHableuponfotlow'up InformationRequestsuchasLobyandHoldingareaCameras.
        ; Mostinformation receivedwasonlyaftercontactingMr.Tidymantoensurehi^oYe^te^. Howev^^ce ^^
             ^clS'^acchS "ar^dLt:':Taylor-sview'ofallowingmetoviewanyinformationisverydistorted.It-shardto
             determineexactlywhowasoverseeingwhom.

             t feltmyonlyrecoursewastoreportthisissueandfilea formalcompiaJntS^^C^kn^w^bo^^
             ^S^'R^Fd^^f^^^^
             ^Ss(^"SItleS^t> wtere" was"giving
                                         I            evidence in an ongoing criminal investigation according
                                                                                                                               to his own

             department.

             I knoweithermyrightsorthecitizensrightshavebeenterriblystatedno^. As^wa^app^ertty^pp^ed^th^
             S^S^^^h^^^^;e^g^^mil^
                    fthe                                                                                      these matters.
                                                                                                                                     '^outrageous
         :
             ^ctSns^f'the memberro
                          Department. report Hamiiton Police                         I felt a need to


              Therefore,on10/20/23I contactedScottScrimizziExecutiveDirectorofPublicsafetyj^^c^Hfm;lt^^ ,
              pZrebeTa    nf^M^^^^^^^
              Km\uh?£'hieuf^svmade'awareTmyPubTicTnformato^ loud and continue
              S^IsIo^vl l^^nitoa red. uMr" S^imi^ became'very
              ^SJ^d^^d^^^l^^itoM^noh^^k, ^^^
              ^d'Ztfo^ th'^ttoth7aty"de"rkfor monitoringJthe^
              ^^^^^^^?°^H^
              r^ve^'a^t Fhrchtefra ctions^^
                    r^n'o^e^SamTlton'Poirc e'Departmenf. 'i then asked how caPta'linves^atesme. ch!^and^re^n '
                                                                                            a

             : SS^c^S'^s^fo^b^^
             i ^^^^^^^"^?^^^^chen^^CT!e!^RS^!S
             1 I^r^^^SSS^^P^^
               ^rSounTo^ l"TOUl'dn'orb elievehewas'refusingto>listen                    to or document a complaint on the Hamilton I

                                                         _ ^ -_^t»-»0n^.-.   ,   <M^-th^-, ^-f. i7»nR4d9?i4fi51716181%7Cmsc]-a:r-89097827913465296...   9/13
               Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 24 of 50 PAGEID #: 31
26/01/2024. 10:16                                             CityofHamiUon,OhioMail- Re:Messagefrom-RNP002673EC6A3D"
                       t orthechiefofpolice.Beingthechiefofpolice'ssuperior.ItwasobviousI couldn^do, anyS!n9, b^ , ";"
       SmcTpt°a^hTnS^^^                                                                                                            wron9al!inofselfan! sti"
       don't understand howthis is possible.

       AfterspeakingwithMr.Scrimizzitebroughtupa v^dpojntoj^n^ac^^^^^^^^^ ^
       ^te"topte^le^'m^s'a'gefor'theChieTinTpiteof a disablinganxietydisorderwitchwas^mentio^d;^^ctl^e^.^
       ^^1°eleR?ceo?d^?p?rtem^'S ^f^^^^^^^
           ^m7do^rt ^^l<forthisd^r^^^
                             re'c'o'i'ds'office'iu
              "SThis'^a'slfteFt'he                                 dged and chastised me for apparently makinrseye                            ral^ mw^ich I
           X5eiS^1>?orp{?onySou^uc1 ^^^^^^                                                                       t,tetweefc, :Thls fn.aj!.
                                                                                                                                             be
                                                                                                                                               Sed ;Lthen.
           ^L^vwellexSnp^tw \;;euCityTHa^^^ Hcan'alsobevJewedh°w_l_beHeYe^hone^s^^n^
           ^^gencT^bero ft 'heHamiiton^cewereignoredonpurp^
                                               The email lasted generate regarding my records request
           ^STdyanudduo7eumented"by'Mr;Tidyman                     in a                                     him to                                             on


           09/26/23.

      i Finallyon10/26/23i receiveda phonecallfromtheChief^fP^ofJheHam;iton P^ De^rtmJ^^asked
      I ^Si^^n^^re^^^bIichimnationRequest'and covert                           comels^0^.^
      ! ^i^'^^^^^^^^'a^^of^PubHc}^
       :
        ^Sl upI ?heI ^dl     ^HMruS^^zi:^ecau^           ca^jfM^nt^^gh^^^ ^^ ^cin-t
                                                                                I didn't
           ^n"S^ IhSntkliu
                        wausaalie'i"tori               'tdd'thechfefTwasimpresse^with h'^esticuterfortUude_forr^urnin^my^l
           ?:l^toditdTtNThea^
           ^Te'col ^acti'ng'me'in7eference tofflmga'formal complaint.                                   1 then apologize to the Chief that it had to come 1

            filing a complaint.

            On10/30/23I finalizeplanesviaemailtomeetCaptainChenowethattheHamiltonPoliceDepartmenttofilemy
            formal complaintwiththe Hamilton PoliceDepartment on 11/01/23.

             I will
                  provideyouthefollowinginformationifUwo^dhdpjn^nn^e^^^
                ^'^^^o'^e^be'rs'^'empioyees ofm'eo^^^^ CityofHamiitonCouncilsoffice^Ham^^^^^
           ! MheamTefr^fmheet^md?Dlp°IST?£lSvry
            rX"rS^ar^^?^^eymedicaldoctorsrecordtoa.mytod,»b,»>y»yourequ,,.p.oofo,>halalso.
             i donotbelievetheactionsoftheHam-rttonPoliceDepartmentasanen^edepartmentare,mora^eth;ca^o^o;^c^
             !^^S^^^I^-e?^EGPolice                                ^^                 oversight. This belief is 1
             mT^^Stoun?^rD e'^m^U"n'ves£^^^                          Department with                                            no

             on the actions listed in the facts above inthis complaint.




              landttte"DepartmenTjustice asfarrecords, recordings, andotherdocumentation inmypossession.
              ThefollowingarethedocumentsbelieveapplytotheviolationandsupportthefactsI'vepresentedlodgedinthis
              complaint.

              1 Administrative Director No. 333-11-18-16
                Section 3a, 3b, 3c, 3e,3f
              2.General Ordertf RR-1.1
                  1. 1. 1(1), 1. 1.2, 1. 1. 3, 1. 1.4(2(1, 2), 3, 4(1(1, 2),
                 2, 3), 1.1.5(1,2,3,4}
              S.General Ordei^ RR-2.1
                  Section2. 1. 1 (#3/4/5/6/7), 2. 1.2, 2. 1.4,
                 2. 1.6, 2. 1.7, 2. 1.8, 2. 1. 11. 2. 1. 12
               4.GeneralOrder#RR-3.1
                   Section 3. 1. 1, 3. 1.3, 3. 1.4, 3. 1. 5, 3. 1.6
                   (#1,2,4,7, 14.)
                                                                      _ _ _^-i--_lt0^^*. ^>tl->!^t-4^t>",   ^-(. 17RnsAA9-t4R71716181%7Cmso-a:r-8909782791346529...   10/13
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 25 of 50 PAGEID #: 32
26/01/2024, 10:16                    CityofHamilton, OhioMail-Re:Messagefrom"RNP002673EC6A3D"
     S.Genera! OrderffRR-4.1
      Section4. 1. 1 (1-5), 4. 1.3 (2,3,5, 6)4. 1.4
      4. 1.5, 4. 1. 6, 4. 1.8, 4. 1.9, 4. 1. 10, 4. 1. 11,
      4. 1.12, 4. 1. 13, 4. 1.14 (3), 4. 1. 15
       4. 1. 15(4(1-2), 5(1-5)
     S.General Order#RR-5.1
       Section 5. 1.1, 5. 1.2, 5. 1.3, 5. 1.4, 5. 1.7
        5. 1. 12(1(3), 5. 1. 13, 5. 1.20, 5. 1.21.
        5. 1.24(2,3,4,5,6, 10), 5. 1.26(1(1)
        1,2,34), 2, 3, 6, 7, 9, 10, 12).
     7. General Order* RR-5.3
       5.3.2, 5.3.4(1,3,5), 5.3.7(1-3),
       5.3.9(1(1-2), 2}, 5.3. 10(1}, 5. 3. 13
      S. Hamilton Police Department Mission
        Statement
      9. Lt. Taylor's email chainwith Brittany
        Geurin on 09/26/23
      lO. Hamilton Joumal-News article by Lauren
         Packdate January20, 2022titled
          "Chief: Hamilton police officer
         terminated for sexual activity while on
          duty"this newsarticle referencesan
          Officerterminated forfornicatingwhile
          on duty in which an video was circulated
          around the the department documenting
          the fact. While I'm sure both parties
          consented to this act
          where aware ofthe video,
          and it being circulated. This act was so
          heinousthe officerwasterminated. The
       "Th^Sll ^^^^^^^^      organi^n purposevjo^s th^st^
                                                        "s and when a member of our

     ; c^^SS^^^^^^PtydJ^^
            ffSrwhoTscovered                        quickly                                                            who moved             to
       ^^o^hro                    investigators
                                                         andreported'thismjsconduc^nd               our

      : develop information thatallowed metoactdecisively, " Bucheit said."
            t would hope the Hamilton Police
             Department would measure this
             issue with the same scrutiny as it dearly
             judges other officer, viotator's, jind
              citizens just attempting to get Public
             Information. This article is public record
             and can befound in the internet.
             1.CopyoftheSunshine Law,thisispublic record alsofound ontheinternet
             2. ORC Section 149. 43, again public record
             3. United States Constitution, public record.
             4. General OrderffTE2.6
              5. ADAwebsite regarding persons with disabilities, public
              6. NIH website regarding persons with disabilities, public record



         {would asked that email is acknowledged by                    the_HamiIton Police D^^e^a^eceiye d^ith^^te^dtim^^^
           'raDdM'i'zeforn'orm eeting with Captain Chenowelh is person                       as I had
                                                                                                              P{annecimmyemat!s;Anef;c
         S^TnTSSZ^nTfe^^^^^^
         S^T9TlS?sednuseT(i£ l°eZuenra nTalSi own^TthDe"pe^                                                             fea^r ^al;a^^a^^
         ^hf^or^^abT ^nCeitrb7;£'H^lt^^^
         All statements I havemadeinthisformal complaint aretrue andaccurate tothebestofmyrecoliection,
         documentation, recordingsavailableon 11/01/23.

         JeffPyfrin
                                        n/*C;/»7nOk^Ai«ai*/^ntAc;A?trr-h-   ^tlXnfirmthid=thread-{:1780844234621716181%7Cfnsg-a:r-8909782791346529...   11/13
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 26 of 50 PAGEID #: 33
26/01/2024, 10:16                    CityofHamilton,OhioMail- Re:Messagefrom"RNP002673EC6A3D"

     Sent from my iPhone


           On Oct 30, 2023, at 1:08 PM, Trent Chenoweth <trent. chenoweth@hamilton-oh. gov> wrote:


           I will be here on that date.

           Trent

            On Man. Oct 30, 2023 at 1:20AM Jeff Pyfrin <jpyfrin@hotmaii. com> wrote:
              Trent,

               Thankyou forproviding this information. I willbein Hamilton on 11/01/23 anddidn't know ifI would
             . be'abletodelivera copyofmyformalcomplaintanddocuments personalty toyouasi wouldlike a
              time stamped copy as proof you have received al! of of my documentation.
             ; Ifthis is anunreasonable request I could always request the lobbycamera as part ofa Pubiic
              Information Request or capture the event on with my cellular phone.

              Thank you,
             : Jeff Pyfrin

              Sent from my iPhone


                            On Oct26, 2023, at2:41 PM,TrentChenoweth <trent. chenoweth@hamilton-oh. gov>
                            wrote:




                             Jeff,

                             I have attached our complaint form for your review. You can fill it out and attach any
                             supporting information when you drop it off.
                             Thanks,

                              Capt. Chenoweth
                                              Forwarded message
                              From: <chiefsoffice@hamiiton-oh.gov>
                              Date:Thu, Oct 26, 2023 at 2:36PM
                              Subject: Message from "RNP002673EC6A3D"
                              To:Trent Chenoweth <trent. chenoweth@hamilton-oh.gov>


                               ThisE-mailwassentfrom "RNP002673EC6A3D"(MPC307).
                               Scan Date: 10.26.2023 14:48:48(-0400)
                               Queriesto: chiefsoffiGe@hamilton-oh.gov




                                Captain Trent C. Chenoweth, MBA, CLEE
                                Hamilton Police Department

                                Support Services Bureau Commander

                   - _ "_ f- -it/. . frtf/l:I/-^'3nC'/."7/^/3^/1   ».,.^,,,-^s.»o=,^h=aiWr,prmthiri=ihread-{:1780844234621716181%7Cmsg-a;r-8909782791346529... 12/T3
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 27 of 50 PAGEID #: 34
26/01/2024, 10:16                                  CityofHamilton, OhioMail - Re: Messagefrom"RNP002673EC6A3D"
                          331 S. Front Street

                          Hamilton, Ohio 45011

                          Office 513-868-5811 ext. 1561

                           Fax 513-867-7317




                           <20231026144848659. pdf>




                    Captain Trent C. Chenoweth, MBA/ CLEE
                    Hamilton Police Department

                    Support Services Bureau Commander
                    331 S. Front Street

                    Hamilton, Ohio 45011
                    Office 513-868-5811 ext 1561

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        Captain Trent C. Chenoweth, MBA/ CLEE
        Hamilton Police Department

        Support Services Bureau Commander
         331 S. Front Street

         Hamilton, Ohio 45011

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         Fax 513-867-7317




                                                                   ^^fhiri=thmad-f-1780844234621716181%7Cins9-a:r-8909782791346529. -.   13/13
               Case: 1:25-cv-00347-MWM-SKB    Doc #: 1-1 Filed: 05/23/25 Page: 28 of 50 PAGEID #: 35
                                       CityofHamiiton,OhioMai!- Re:Messagefrom "RNP002673EC6A3D"
26/01/2024, 10:17



                                                                            Trent Chenoweth <trent.chenoweth@hamilton-oh.gov>
      BUTIERCOUNTYOHIO




  Re: Message from "RNP002673EC6A3D*
  1 message

  Trent Chenoweth <trent. chenoweth@hamilton-oh. gov>                                                         Wed, Nov 1, 2023 at 1:52PM
  To: JeffPyfrin <jpyfrin@hotmail.com>

     Jeff,

     I received your complaint.

     Thanks,

      Capt. Chenoweth

      On Wed. Nov 1. 2023 at 1:13 PM Jeff Pyfrin <jpyfrin@hotmail. com> wrote:

         I would like to file a formal complaint on the City
         of Hamilton Police Department, the Chief of
         Police, Lieutenant Eric Taylor, Sergeant Mike
         Thacker, Brittnay Geurin Records Supervisor and
         Scott Scrimizzi Executive Director of Public Safety
         for their personal involvement and actions in the
         following incident concerning Public Information
         Rights, Civil Rights, and several violations of
         policy of the Hamilton Police Department.
         Attached is a list of the policies and procedures I
        Ifeel were violated by the police department, its
             employees, and city employee. Also, supporting
         documents for the validity of my complaint. As
        Iwell as an article published by the Journal-News
         on 01/20/22 by Lauren Pack.
             On 09/11/23 I entered the City of Hamilton Police Department, during regular operating business hours, in order to
             filea Public Information Request. I wasinitially informed atthe records information windowthatthis needed to be
             done online in anemail. I informed theemployee I hadcame to the police department in person tofile my request. I
             was then asked if I had the information I wanted written down and after I informed the employee itwaswritten down. ^
             I was instructed to take a seat and wait. After being called to the windowthe employee asked me for the information I
             wanted. I then beganto recite the information I hadwritten downon my cellular phone to request. The employee
             informed me again I had to write down my request on paper. The employee was then informed 1 was not writing
         ) anything down~Then the employee began writing down my request as I recited them to her.

    hftns-//mailnnnnte. com/mail/u/0/?ik=f3a5c7a2b4&view=pt&search=al!&permihid=ttiread-f:1780844234621716181%7Cmsg-a:r-80663096151791046...   1/13
             Case: 1:25-cv-00347-MWM-SKB
26/01/2024. 10:17                          Doc #:Ohio
                                     C'IYofHamilton, 1-1Ma8
                                                         Filed:  05/23/25
                                                           - Re:Message    Page: 29 of 50 PAGEID #: 36
                                                                       from"RNP002673EC6A3D"
     Once I askedfordashcamera andbodycannerafootageagainitwasinsisted that I till outpaperworkto beableto
     vte'w'this7nformat!on. Again, I informed the employee I was notfilSing out anything, asked ifshewanted to see the
           "Hamiiton-Policyon thematter, andaskedtospeaktohersupervisor.Atthistimetheemployeeturnedher
             .




     back'tome.'shethrewherhandsintheair,andstated" I'mnotdoingthistoday".I assumeshewenttofmdthe
             r'Oncethesupervisorwasinformed ofwhathadhappenedsheinformed mei didnothavetofillout^ny
      paperwork. FihenaskeJif I would befinishing myrequestwithherortheemployee whowasclearlyagitated.The
      supervisorinformed meI couldcontinuemyrequestwiththeclearlyagitatedemployee.

      ThisemployeeaskedmetostopyeliingseveraltimesandinformedherI wasnotyeKi"9'butra.^erlt wa^diffi.cu!tjor
      me to hear herandlwanted to make sure she wasunderstanding and hearing me duetojny difficulty inhearing her
      throughfte glass, small windowhole, andsmall paper slideatthe bottom ofthew{ndow-TheontyP. erson, c^"sin9
        :aTtentionwas theclearly agitated employee taking myrequest. Afterall myitemswerecommunicated the
      emDtoveerepeated them to"me andthey were correct 1 left a contact number to bereached whenthe records were
      ready.TaisoaskedifI neededtoleavea depositforanyrecords,i askedifshemayknowhowjon^itwou!d^eto.
      obtainf^y'records"requ6sted. Thisemptoyee toldmeitwouldtake^awhiteduetosomeoftherecor?-IT^liT_thavinQ
      to aoto a different location inorderto beobtained and redacted. Such as personnel files and prior disciplinary
      rerords. "Shemtormed methe rest in my information could be ready by the following week. Shethen recanted this
      statement andtold me she didnot knowwhen my request would be ready. I then thanked herforhertime and left the
       poiice'station?TheonlyinformafionI wasprovidedwasanincidentreportwithnostatementeffectslistednothing
       else in my request for viewing was allowed to me this day.

       The foliowing day on 09/12/23 1 received a message to contact Lt. Tayior
                                                                                               of the City
                                                                                                             ofHam!ltonJO I(ceDePartment
       Upon''retumingLt. Taylor>sphonecall.Heinformedmehereceivedmyrecordsrequestand^anytimethere's a
       recordsrequestofmylengAandnatureitgetsforwardedtothechiefduetohavingconcernsitmaybemedia
       related" i'then'informed'Lt'TayIor I wasnofthe media andhedidnothaveworryaboutthat,however I wasdisabled
       former law enforcement officer.


        S wasabletocommunicate myconcernsofwhatI hadheardaboutanincidentoccurring attheHamilton Police
        Department"Finforme'dLtTaylorI wantedtoseewhathad^happenedduetoconcernthesharedwithmebeingso
        unbelievable dueto my past ofbeing a LawEnforcement Officer.

        Lt.Tavlor told me this information seemed odd to him aswe1i. U. Taylor told me hewasgoing to look into the matter
        and'a/eTba'ekwi{hme m'regards to myconcern. I alsoasked aboutthe information I hadinquired aboutandwastold
        rt'waTbeingworke'don and would take time. I thanked him and stating again 1 just wanted the informationto_beable
        to'seewhaThappened.FalsoinformedLt.TaytorduringthisconversationthatonceI hadseena"theinformation I
                Fi*hoped'lcouldsaytheofficerdidanoutstandingjob.Lt.Taylorwasalsotddinthisconversation;Jhe.
        'isstues'between"theofficer'andcitizencouldbehandledincourt, t justwantedtoseetheinformation. S reiteratedto
                                                                                              Hamilton Police
        LrTaylor'durmg'thts'conversation.         I had hoped once i see all the information I could I say the
        Department dida greatjob. Hethenthanked meandtotd hehoped soaswell.
               1 a follow up phone call placed byLt.Taylor on09/14/23. When I returned LtTaylor's phone call. Hehad
         informed mehehadwatchedthedashcamerafootagewhichI hadrequest andthecircumstances leading^o^
         t'ncident Duringthis phone conversation LLTaylorinformed methisincidentwould havegone much i
         was the officer involved in the incident.

         Lt.Tavlortold methedifferenceintheincidenthappeningthewayitdid,andtheincidentnothappeningwasthe
         difference between anofficerwith 24years experience as opposed to an officerwith 2 years ofexperience
                                                                                                            with more
         rn sFriuating'the lack of experience and knowledge of the officer which lead to the incident and someone
         experiencedandtrainingwouldknowtousemorecommonsenseandmuchbetterJudgment.
          I explained to Lt.Taylor I could understand thedifference ina moretenured experience officerof24years likeLt
                      I'an-officeFwho'has'only beenwith department for2 years. 1 informed Lt. Taylor again they could talk about
          Se"galissuesin~courtagainandthat1 justwantedtotalkaboutpoliciesandseetheinformationI hadrequested. I
          reiterated this point several times in our conversations.

          I eventoldU.Taylor, I myself1 would"profile"thevehicleintheincidentandanyonewithanysensewould.Wethen
          had"a'conversationon howpolicecannotsay"profiiing"anymore. Lt.Taylortold meitwasnowcalled"behavioral
             [tin'tf>'and" e"HamiitonPoliceDepartmentconductsthispracticeinlawenforcement ailthetime, that'sitsgood ^
          poIicinS.andthatheencourages officerstopracticethisasa meansofgoodpolicework. i thentoldhimwhatever it's
        j Ft'scallednowit'sstiSI"proftling"andI wassurprised itwasaloud nowin policework.
                                                                                                                                               2/13
   Mfn. -//n, ail.nonate. com/mail/u/0/?ik=f3a5c7a2M&view=p(&search=all&perm{hid=thread-f:1780844234621716181%7Cmsg-a:r-80663096151791046...
              Case: 1:25-cv-00347-MWM-SKB     Doc #: 1-1 Filed: 05/23/25 Page: 30 of 50 PAGEID #: 37
                                      City of Hamilton, Ohio Mail - Re: Message from "RNP002673EC6A3D"
26/01/2024, 10:-!7


       Lt.Taylorwasinformed therewasnodoubtboth theofficerandindividual werebothwrongonthedayincidenttook
        placed However, the officer has been trained andthe citizen hedealtwith wasnottrained. Therefore, theofficer
        should have known better making the officer"more wrong dueto beingtrained". 1 asked if I could have a copy ofthe
        dash camera footage and body camera footage so I may see it Tor myself. I told Lt. Taylor I was sure 1 could view it
        through discoverywiththe court, sowhether1 viewedthefootagesooneror later I wasgoingtoseethefootage
        requested.

        Lt.Taylor saidhewould allowmeto seedashcamera footagedueto my pastexperience witl-^iawenforcement. I
        informed U. Taylor t would be in Hamilton on 09/22/23 and I could meet him on that date. Lt Taytor told me he was
        offthatdayandhewould informSgt.ThackeroftheCityofHamilton Police Department ofthe incidentbecause he
        could be trusted and i couid meetwith him. Lt. Taylor and I agreed to a 15:30HRS to meeting time with Sgt. Thacker
        as to not interfere with roll call or beginningofwatch activities.

        Lt.Taylorwasalso asked if I could pickupanyfurther documents on 09/22/23. S informed Lt Taylor I waslooking
        forward to reading the General Orders and Policies because they were just copies and shouldn'tbe hard to obtain as
         I usedto keepa binderwiththem in mycruiserwhen I waswithlawenforcement. I informed Lt.Taytor I wasgoingbe
         unable to do anything due to an upcoming surgery and looked forwarded to reading them and learning more about
         thethedepartment because I wasinterested inthosethings. Lt.Taylorsaidhewoulddo all hecoutdforme andhave
         anyfurther documentation available to me on 09/22/23 when I met with Sgt. Thacker.

         When I met with Sgt. Thacker to view the dash camera footage on 09/22/23 at the City of Hamilton Police
         Department. I wasteken to theformal meeting room toviewthe tape on the projection monitor. Sgt. Thacker
         explainedthereadoutinthedashcamerascreenandinformedhimI wasanexlawenforcementofficerandknew
         howthe read the screen. While watching the screen 1 asked about there being no sound aiong with dash camera
         footage wewere watching. Sgt. Thacker told me themicrophone inside the cardoes notautomatically come onwhen
         the light baris activated and hedid not understand whythe sound was notworking either. Sgt. Thackerdid appear to
         try andfixthe issue with the equipment. However, when the officer excited hisvehicle you could hearhiscommands
         on the microphone on the dash camera.

         i would like lo note. The sound for the dash camera footage did notworkon my personal computer either. However,
         in the copies ofthis footage I've made andgiven to others. They all saythe sound works on their copies, so il's hard
         to determine exactly where the error lie in this.

         WhilewatchingthevideowithSgt.Thacker1 foundthefootageoftheofficersinvestigation andsubsequent arrestto
         beso unseUling, atrocious, andegregious. After the person was placed in handcuffs I told Sgt. Thacker i could watch
          the rest camera footage at my house.

          I also informed Sgt. Thacker the incident could have gone differently and he obviously disagreed. Rnding no
          wrongdoingasto"whatwasseeninthedashcamera uptothepointI requested himtostopplayingthefootage. I did
          notknowifthisdisagreement wasdueto SgtThacker's lackofexperience alsoor hisoverbearing, dominant, and
          pious attitude he demonstrated during our meeting.

          Duetomyprevious conversationwithU.TaylorinreferencetotheInexperienceofofficersattheHamilton Policed
          Department, t couldclearlyseeandunderstandbywatchingthevideo. Theofficerinthedashcameradearlylacked
          knowledge, experience, training, and I'm actually shocked hestill hasa job withthe City ofHamilton due to being a
          liability for thedepartment. I'm very certain if I would have performed asthis officer conducted himself and itwas
          broughttotheattention ofmysupervisor 1 would have beenfired regardtess ifitwasmysecond yearor my twenty
          fourth yearwiththedepartment. However, myissue"iswiththe PublicInformation Request I'verequested.

           ! informed Sgt. Thacker during this meeting, as i did with Lt. Taylor, that I did not want to talk about the law the citizen
           could argue thefacts in courtJ just wanted to talk about the policies and procedures ofthe department regarding this
           officers conduct.


           t did ask Sgt. Thacker ifthe officer was found to have violated any policies would if he would be held to the same
           standardshe measuredthe citeento thatday. Sgt.Thackeragreedwithme thatifthe officerwasfoundto violate
           any policy hewould be held to the samestandards as he measured unto the citizen.


   hUDsy/mail. aooafe.com/mai!/u/0/?ik=f3a5c7a2b4&vfew=pt&search=aII&perinthid=(hread-f:1760844234621716181%7Cmsg-a:r-80663096151791046...   3/13
            Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 31 of 50 PAGEID #: 38
26/01/2024. 10:17                                 CityofHamilton,OhioMail- Re:Messagefrom .RNP002673EC6A3D"
       Sgt.Thackerthenprovidedthedashcamvideo,arrestreportwithcomplete narrative, andthebookingreportina file
       for me to take with me. I asked again aboutthe policy and general orders as Lt. Taylor and I had discussed on
       09/14/23. 1 was informed by Sgt. thacker that was all the infornnation given to him by U. Taylor. I thanRedhim for his
       time, offered to paythecostoftheCDasisthe policyoftheCityofHamilton fordigitalinformation Sgt.Thacker
       declined, and I told him ! would follow up with Lt Taylor when he returned to work. Sgt. Thacker's BWC footage is
       availablefor this.You can clearly see and hearwhattranspired.

       } would like to note I requested this BWC footage as part ofa Public Information request. You can clearly see the
       video Sgt.Thackeriswatchingon thecomputer isthesamevideo I'mwatchingonthe projector. I wouldfurther like
       to note the Hamilton Police Department Records Department censored the viewing ofthe dash camera playing on
       the computer whiieSgt. Thacker and I werewatching iton the projector. Inorder forme notthe view the infom-iation I
       was clearly watching and was provided a certified copy. I was confuse aswhy this happened and came to logical
       conclusion either my rights or the citizens who was arrested were clearly violated. However, at this point I wasn't
       sure,



        When Lt. Taylor return from days offon 09/24/23. 1 had the chance to discuss several discrepancies tn the officers
        report andwhatexactlyhappened onthe dashcamerafootage. Oneofwhichwasan officerwhowasonscene and
        notlisted in the reportor anydocumentationof the incident.

        I asked Lt.Taytor ifhemightknowwhotheofficermaybe. I described theindividual andLt.Taylorasked me ifthe
        personhada beard orwascleanshaven.I told him i couidnot rememberbuthe hisclearlyonthe dashcamera
        footage I wasprovided, t then asked iftheOfficerwasa NewMiami Officeras 1 wouldhavebeincontactwiththe
        Villageof NewMiami for information.

         -t. Taylor advised me hewas unaware if New Miami still had Police Officers. I found this odd atthe time because t
        had not heard of NewMiami PoiiceDepartment disbanding. However, i had no reason why Lt Taylorwouldn't know
        ifthevillageofNewMiamihadPoliceOfficersasit isa neighboringjurisdiction.

        However, Lt.Taylortold me hedidnotknowwhoitwasI wasdescribing andhadhehadtoviewthedashcamera
        footagetofindout. Thisisodddueto Lt.Taylortelling mehewatched thevideoon orabout09/14/23. I'msure he
        woutd beenableidentifyoneofhisofficerincamerafootage ifhewould haveseen him. Itwasveryobvious ifyou
         watched the dash camera footage,

         I totd him I would appreciate him letting mewho theofficer was. because I wasgoing to be^-naking a Public
         Information request for the unknown officers BWC. In order to see exactiy what happened. This was due to the
         statement offacts not matching the the horrific events seen on the dash camera footage, and lackof information
         documented or articulated by the arresting officer,

         However, knowing BWCaresupposed tobeon andrecordingwhiteon a call in public, i washopingths unknown
         officers BWC might provide further insite onwhattook place during the incident. Lt.Taylor assured that one I had
         "seen everything' I would totally understand the events whichtook place inthis incident during this phone
         conversation also.


          I would like to note dueto Lt.Taylor's email thread on 09/26/23. 1 had notviewed or received any policy or
          procedures on this matter asofourconversation on 09/24/23 thiswasjust general knowledge based on common
          sense.


          i also had a discussion with Lt. Taylor, during this conversation, about the officer clearly committing the same traffic
          offenses he cited the citizen for leading to their arrest. I used the following analogy:

          IfI pull someone over for drinking a beerwhile they're driving. I wouldn't arrest the driver, putthem in my back seat of
          my cruiser, then on thewaytojail crack open a beer in thefront seat, anddrink it onthe waytojail with them in back
          seat.


          I explained to Lt. Taytor thiswas an extreme analogy, however he understood the meaning ofthe antidote. Lt. Tayior
          told'me hewouldwatchthetapeagainandseewhotheofficerwasbecausehe did notknowandthencontactme
          thefollowing day (09/25/23. ) Before ending the cai! I asked Lt. Taylor explicitly "Areyou my contact in this matter?"
          Lt. Taytorstated "Yes".

   httn<.-//mailnnnate-com/mail/u/0/?ik=f3a5c7a2b4&vEew=pt&search==ali&permthid=!hread-f:1780844234621716181%7Cmsg-a:r-8066309615-t791046... 4/13
             Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 32 of 50 PAGEID #: 39
26/01/2024, 10:17                                   CilyofHamHton,OhioMail- Re:Messagefrom ..RNP002673EC6A3D"


       I'd like to note as of 11/01/23 the Village of New Miami does have a police department. Furthermore, a Lieutenant at
       the neighboring jurisdiction should know this basic mformation. Sothis^was eittier a flatout tieto deceive me, or an
       immense lack knowledge and training bya ranking officer in Hamilton Police Department.


        In myfinal conversation withwith Lt.Taylor on 09/25/23. Lt.Taylor toid me hewatched thevideo and could find no
        wrong doing withthe officer or his actions. Healso provided the name ofthe unknown officer asOfficer
        Leistnger, Hamilton Municipal PoliceDepartment, asseenonthedashcamerasoI couldnowrequestthisofficers
        bodycamera as well.

        I also inquired if Sgt. Thacker had hisBWC activated when t met with him on 09/22/23. Because 1 would be
        requesting thatfootageaswell. 1 didbetthelieutenantthatboththesergeantandOfficerLiesingerdidnothavetheir
        BWC activated at the time of interactions with mysetfor at the incident. I'm very happy to say I lost this bet and it
        appears boththesergeant andOfficer Liesinger'did havetheirBWCactivated. Because now OfficerLiesingers BWC
        has become evidence also, and all because i asked to view his BWC footage.

        ThisisveryoddbecausenoonewouldhaveknownOfficerLiesingerwasatthesceneoftheincidentunless t had
        pointedthatoutforeveryone. ItwasabundantlydearLt.Taylordidn'tknowhewasonsceneattheincident 1 then
        pointedoutclearcommon sensediscrepanciesonwhattheofficerdocumented happenedandwhatyoucould
         clearly see happening on the just the dash camera footage I was provided.

         Lt.Taylor continued tojustify the officers actions in this phone call. 1 could not understand whatLt.Taylor saw in
         watchingthevideoonoraboul09/14/23andthenagainonorabout09/25/23thatchangedhisviewssodrastically.
         Other than my questioning the actions ofthe Hamilton Police Department.

         Duringthisfinalconversation on09/25/23. 1 specificallyaskedLt.Taylorthefollowingquestions aboutthedash
         camera footage he provided me ofthe incident. Astowhyhe nowfound nowrong doing inthe Officer action or
         conduct.

                                                                                                                             school to catch
         You don't think going 70MPH in a 35MPH zone in the middle of the day on NW               WasWngtor^Blyd by      a


         upto'a carfora^minor traffic infraction isn'texcessive? Orwastheofficer a in pursuit? Lt.Taylorthenasked meif I
          could see that on the dash camera he provided me. I told him yes. He then exhaled as if he was stunned I had seen
          this.

          {then asked Lt.Taylor howthe officer coutci see one ofviolations the officer hadcited asseeing leading to an
          arrested. Ifthe officers headwason a swivel, backing outofdriveway, with a car clearly approaching his cruiser.
          Pointingoutto Lt.Taytorifyourheadismovingbackandforthona swivelyoucannotseea violation momentary
          violation occur such a some stop at a stop sign. With the tack of experience in the officer, which Lt.Taylor had
          previously communicated, I found thisvery doubtful. However, Lt.Tayior told it could happen.

          Lt.Taylor alsotold, meinthisphone conversation, itwaspossible to the Identity thelicense plate ofth8 aPPn:'achin9
          car'accurately asarticulated intheofficersreport. I thenpointedoutasyouclearlyseetheinvideovehiclehasno
          front license plate for the officer to identify.

           Lt.Taytorassuredmewhiletheofficersheadwasona swivel,backingoutofa drh/e,makingsurethecar
           approaching hisbacking vehicle wassloping asto hithimwhile backing asanynormal human beingwoukl do The
           officer was still able to view the license plate dearly bythe rear plate, and see very vividly the carfail to stop for the
           stop sign. Which they were notcited in this incident leading to their arrest, due to "officer discretion. " From my own
           person/knowledge andexperienceasa iawenforcement officer.Whohaspreformed thissamemaneuverthousands
           of times I knew this answerwas clear absurdity.

           Then I asked the lieutenant if he completed a n'C incident report due to the Pursuit Policy of the Hamilton Police
           Department (whichI foundbyresearchingtheinternetdueto notbeingprovided a copyofthepolicyandgeneral
           orders like I requested on 09/11/23 and being generally interested in the facts ofthis matter) clearly states must be
           completed in all pursuitandFTC incidents. Thiswasa FTCso I asked.

    hHn.i-ffmailnf,nnte. ^m/maif/u/0/?ik=f3a5c7a2b4&view=Dt&search=al[&permthid= read-f:1780844234621716181%7Cmsg'a-. r-S0663096151791046...   5/13
             Case: 1:25-cv-00347-MWM-SKB
26/01/2024, 10:17                           Doc #:Ohio
                                     CityofHaraiiton, 1-1Mail
                                                          Filed:    05/23/25
                                                              - Re:Message     Page: 33 of 50 PAGEID #: 40
                                                                          from"RNP002673EC6A3D"
     Lt.Taylortold me hedidn'thavetofilloutthatdocument. I asked again aboutthe policy andreiterated itspecifically
     says'Tn all pursuits andFTC incidents a supen/isor mustfill outthisreport. Lt.Tayiortold methata FTC report teoniy
     completedwhenthedrivergetsawayandthisincidentendedwithanarrest. Therefore, nodocumentation was
      needed by a supen/isor.

      i'ddearly like to apply this same logic to an officer who has a use offeree in arresting anoffender: The supervisor
      does not'have to do a use offeree report because the use offeree incident ended with a persons arrest. Using this
      logictheonly time a useofforcereport needsto documented. iswhentheofficerusedforced onsomeone, inthe
      courseof'anarrest, andthe person evades theofficerandrunsaway.Onlythen a useforce offorce reportwould be
      donebecauseforcewas used on a person and the person evaded arrest.

      I wouldthinkanypursuitorFTCincidentasthepolicydearlystateswouldbedocumented bytheshiftsupervisor.As
      a pursuitor FTC incidentboth causeofficersto use someformofexcessive action.

      t theninformedU.Taytorthiswasa policyissueapparentlynotbeingdearandthatshouldbeaddressed. I informed
      Lt.Tayiori wasgoing'torequest{hattnformation aswelltoshowitwasnotdocumented. Lt.Tayiorclearlydidnotlike
      this. By his hisjovial smug tone during the call.

       Lt.Taylor wasthen asked ifthe officer cited the citizen fortwostop barviolations, a windowtint andarrested them
       forFTC.Whydidn'ttheofficercitethemforfailingto stopatthefirstsign^whenheinitiallysawtheYehicle?Hesaw
       andclearlydocumented thisacyonanddidincludeitonthecharges.Lt.Taylortold methecatchallcoverupphrase
       ofpoliceofficers. "OfficerDiscretion",thesameanswerhegaveaboutnotseeingQ\e officercommitting severalstop
       barviolations and"rollinga stopsign"whiletransport thecitizentothe Hamilton PoliceDepartment sotheycould
       booked into jail.

       Lt.Taylor used hisown"officerdiscretion" inthese instances andsawnoviolations whenclearlyyou canseethem
       on the dash camera. I wish some ofthis same discretion was given to the citizen whowas chased down, cited for,
       andultimately arrested atgun point forcommitting these stop barinfractions andwindowtint infraction.

        I informed U.TaylorthatI didnotknowstopbarviolationsarea bigproblem intheCityofHamiltonbutI wasgoingto
       find~out. "Hethen told me stop barvioiationwere infacta problem inthe city. Lt.Taylor then told me a stop^bar and
        stopsignaretheysameviolation codeintheORC.Thistrueabsolutelytrueandaccurateinformation! ORC
        4511.43.

        However, the general public does notknowa stop barisactual violation oflaw. The general public knows to stop at
        a stop sign. Eventhedailyactivity logsfilledoutbysupervisors, including Lt.Taylor, of theHamilton City Police
        Deparrt7Refe7toa stopsignviolationsasdocumentedintheirEOWsummaryandtheynotreferencetoasstop^b^^^^
        violations. Becauseeveryone knowsyouhavetostopata stopsignandnoteveryone isawareoftheactualstopbar
        violation.


        The Lieutenant alsotoid me theonly reason it seemed like 1 wasasking forall this information was because ofsome
        "close relationship" t havewith{hecitizen. Implying a sexual relatfonship andthatweseemed very close I then told
        Mmveryclearlyandbluntly I would dothisforanyone I knewifI didnotbelievewhathappenedtothemwas
        correct.

        TheLieutenantcontinued andinformed me I wasapartofthecase I wasinquiringthe publicinformation about, in an
         efforTto intimidate me. I then asked if i wasgoing to be called as a witness in the court case about this pending
         matter. He then informed me I wasapartof the case byasking for information aboutwhathad happened.

         I askedLt.Taylorifmypublicinformation requestwassenttotheChief.Hetoldmeitwas.I askedhimhowhe
         became-awareofmyrequest. Lt.Taylortotd'metheChiefcalledhisphoneheansweredthephonetheChieftoldhim
         to'handle my publicInformaUon request. Lt.Tayior dearly communicate to me alsotheonly reason 1 hadreceived the
         information provided to thispointwasduemy pastexperiencewithiawenforcement.

         I then expressed toLt.Taylorthat 1 would encourage thecitizentofile a complaint alsofortheactionsofthe police
         department againstthem personally. 1 wastheninformed byLt.Taylor i could notfilea complaint onbehalfof a
         citEenforthepoliceactionagainstthembythepolicedepartment, howeveri mayassista citizeninfilinga complaint
         againstthepoticedepartment. I toldhimI'intendedtohelpthecitizenwitha formalcomplaintontheofficerfortheir
         rights being vioiated as well.
   hf}DS://mai).<iooate.com/maiVu/0/?ik=f3a5c7a2b4&view=pt&search=alt&permthid=thread-f:1780844234621716181%7Cmsg-a:r-80663096151791046... 6/13
             Case: 1:25-cv-00347-MWM-SKB
26/01/2024, 10:17
                                            Doc #:Ohio
                                     CityofHamilton, 1-1Mail
                                                         Filed:   05/23/25
                                                            - Re:Message      Page: 34 of 50 PAGEID #: 41
                                                                        from "RNP002673EC6A3D°


       Lt. Taylor then began to mockingly encourage me to make my requests. 1 told the lieutenant that I would make
       requests and I'llwastetime doingit becauseit's mytime. Lt.Tayloralsoaskedme and! quote"Youdon'ttrust
       anyonedoyou?" I replied "No, I don'ttrust anyone, andthat'swhyt readand knewthe poiicieswhenI wasin law
       enforcement. " t then informed the lieutenant I was going to "Sunshine the hell out this" We then concluded the phone
       conversation.

       1 would like to note after this cali on 09/25/23 it was clear a complaint on the officers under the direct supervision of
       Lt.Taylorweregoingto a complaint filedonthem bythecitizenafterthe casefuttydisposed ofinthe Hamilton
        Municipal Court.

        I'd also like to note Sgt. Thacker was noted as "justwalking in now" during the Lieutenant and mines conversation. I
        do not knowhowmuch Lt.Taylor's answers he over heard. However, he can attest to the Lieutenant speaking with
        me. Due to being asked about his BWC being activated in our meeting when 1 was provided the dash cam footage
        on 09/22/23.

        On 09/26/23 Lt. Taylor sent an email to the Records Department Supervisor, Brittany Geurin expliciay stating. Not to
      I giveme anything unless it isapproved byhim (Lt.Taylor). Because Lt.Taylordoesn'tlike itwhenpeople tryto go
        around the discovery process.

        Ms. Geurin clearly understood thisordergiven byLt.Taytorthatall information I'verequested must beapproved by
        Lt. Tayfor due to ati my public information requests being forwarded to Lt. Taytor for monitoring.

         Ms. Geurin'schainofcommandistheSupportServiceBureauHead,CaptainTrentChenowethHamilton Police
         Department. None of my public information request I'vesubmitted were everforwarded to Captain Chenoweth email
         for'reviewinthismater. '1donotknowifU. Taylorhadto alsoapproveMs. Geurinforwardingmy requestto Captain
         Chenoweth who is Ms. Geurins supervisor also, or if this was an attempt to carry out the order not to provide me with
         any information.

         Ms. Geurin responded to the Email from Lt.Tayior that had she received the message, and had only given me a copy
         of the incident report. Ms. Geurin advised Lt. Taylor she had not given me the dash camera footage or any other
         video footage because I wasgoing to haveto getthe dashcam footage bymeans ofdiscovery withthecourt due
         thismatterbeinganopen casein HamiltonMunicipalCourt.

         I would like to note, due to Ms. Geurin's response to the email sent by Lt. Taylor it appears she was unaware Sgt.
         Thacker hadalreadyviewedandgiven mea certified copyofthe dashcamera I hadrequested. Because I was
         clearly not supposed to have the dash camera footage already given to me.

          In Lt.Taylor's reply hegoes on to indicate to Ms. Geurin I'ma man on a mission in search ofpolicy violation onthe
          arresting officer.' Hecontinued communicating withMs. Geurinthat1 "basically"knewthe arrestwasjustified. He
          faiied to'mention in his reply emaii he had already provided me with information (was not supposed to have. HeJust
          tookthistime to criticized myactionswhileconveniently leavingouthisownunethical andapparent criminal
          behavior.


          I wouldto addressU. Taylors comment i "basically"knewtheincidentwas"justified". I never"basically' oranyother
          waycommunicated theofficersactionswere"justified"oranythingelseaboutthisentiresituationis"basically
          justified" on behalf ofthe City ofHamilton at alt. This shows Lt. Taylor contradicting himseif. Ifi "basically'^new this
          situationwasjustified. Whywould t wantto be° a manon a mission"tofinda policyviolation? Unless Lt.Tayloris
          implementingmy actionsare disingenuous.

          Lt.Taylor actually commented in the phone conversation on 09/14/23. He could tell I had a passion forfinding the
          factsofthis matter.TheconversationsI'vehadwithemployeesat the HamiltonPoliceand HamiltonCityCouncU
          have been documented, recorded, and logged on my behalf.

          This emai! is the only document the city of Hamilton Police Department has about any phone conversation pertaining
          to my Public Information request asof10/03/23 i knowthatbecauseI'verequested alldocumentation andvoice
          recordings in reference to this matter. Unless you have failed to produce me with these documents after
           acknowledging they do not exist.
   htSos://mail. aooate. com/mail/u/0/?ik=f3a5c7a2M&view=p{&search=al]&permthid=thread-f:1780844234621716181%7Cmsg"a:r-80663096151791046...   7/13
             Case: 1:25-cv-00347-MWM-SKB
26/01/2024. 10:17
                                              Doc #:Ohio
                                     City of Hamiiton, 1-1Mail
                                                           Filed:     05/23/25
                                                               - Re: Message       Page: 35 of 50 PAGEID #: 42
                                                                             from "RNP002673EC6A3D"


       These commente madebyLt.Taylorarevery assumptive, unbecoming, anddo notcoincidewithmycomments in
       reference to actually enjoying reading these materials andlearning more in Lt. Taylor and I first phone conversations
       before1 beganquestioningthe HamiltonPoliceDepartmentsactions.

       Thisemail chain, between Lt.Taylor andMs. Geurin, explains byitselfwhy I wasaskedserval timeswhichspecific
       policy I wished to view after i had requested to see ail ofthem. I was also asked multiple times bythe Records
       "Department if I could describe whatpoiicy I waslooking for so they could just provide those specific policy's and not
        alt of the policies which I'd ask to view.

        This email chain also explains very clearly I was not supposed to have a have a copy ofthe dash camera footage
        provided to be bythe City ofHamilton Police Department by Sgt Thacker, acting on behalf ofLt.Taylor, acting on
        behalf of the Chief of Police.


      I Lt.Taylordidn'tacknowledge inhisresponse hehadalready provided mewiththisvideoin anapparentopen
        pendingcriminalcaseintheHamilton Municipal. Rathermockedme, myIntetligence, myrighttoviewpublic
        information, and rightto oversee thepolicedepartment asa private citizen. Thisdocumentwasprovided to me on
        10/27/23.

        Whitethe Cityof Hamilton Police Department wasensuring I was not provided any information on 09/26/23.1
        contacted Hamilton City Clerk Dainiei Tidyman. I asked Mr. Tidyman ifa copy of my Public information Request was
        forwarded to his officefor monitoring bythe the Chiefofpolicewhowasdearly aware ofmy request as explained
         previously inthis statement Mr. Tidyman stated henewnothing about my Pubic Information Request and it hadnot
         been sent to hisoffice by the ChiefofPolice. I then asked Mr.Tidyman ifthiswasa violation ofthe City Policy that
         PublicInformation Request beforwardedto CityClerks Officeformonitoring ifthe request cannotbefilledwithin 5
         days. Hedid notanswerthe question.

         I asked Mr.Tidyman ifhecould document inan email our phone conversaUon andthatitwas 09/25/23 and his office
         wascompletely unaware ofthe Public Information Request I placed on09/11/23. An emaildocumenting a complete
         summaryofthecallwassenttoMr.Tidymanonmybehalf.Thiswasdueto notreceivinganemailMi.Tidymanwas
         sendingmeinreferencetoourconvers'atiort andI wantedtheconversation fullydocumentedforMr.Tidyman.Mr
         Ttdyman didreceived theemail anddidnothaveanyquestions orcorrections astowhatwehadtalked about. Ifyou
         would like I can provide you all ema8 chains with the City Of Hamilton 1 have sent and received.

         As a result ofMr. Tidyman's proper oversight thenextdayon 09/27/23 I was provided some ofthe information on my
         firstPublicInformation Request.' Thisinformation wasplaced ona Google drive account. Ms.Geurintold methese
         are used forlarge information request andwith me living sofaraway itwould be better to view documents in this
          media fonn and'was also cheaper. Ms. Geurin told me i would receh/e a link with the informatton. it was during this
          conversation abouttheset up on mygoogtedrive account. Ms. Geurin wasasked directly ifmy requestwenttothe
          chiefasshehadpreviously implied." Ms. Geurin againadvisedthe Chiefwasawareofmy PublicInformation
          Request.

          Inthe email received, I also provided a reason fordenial ofsome ofmy request in red. Itwas indicated that I wasnot
          prov'tdedacopyofthedashcam footageduetothatvideobeingeYidenceinongoin9casePendi"9intheHa^lilto,n
          Municipal Court in myrequest placed on09/11/23. Itwasobvious Ms.Geurin hadnotknown Lt.Taylor hadalready
          provided me this evidence in an ongoing case pending in the Hamilton Municipal Court.

          This information was updated in an email received on 09/29/23 which stated I could not have the video ofthe dash
          camerafootagedueitbeingusedinanopenpendingcaseintheHamiltonMunicipalCourtandI wouldhaveto
          obtain'this information bydiscoverywithcourt. However, itwasprovided forviewinganda copycertified ofthiswas
           given to me on 09/22/23.

           This email received on 09/29/23 in regards to my second Public Information Request contained the denial of Officer
           Liesingers BWCfootage also. I'dliketo point out again no one kneworwas itdocumented Officer Liesinger was at
           the incident until I pointed this out. Even Lt.Taylor did not know hewasthere. However, after I request Officer
           LiesingerBWCit becomes evidence in anongoing casepending inthe Hamilton Municipal Court.

           It'sdearanorderwasplaced notto givemeanything. To investigate theactions ofthe Hamilton Police Department
           Evenaftergivingmethedashcamerainanongoingpendingcriminalcaseinthe Hamiiton MunicipalCourt. SoI fully
    httDs://mail. aQoate.com/inai!/u/0/?ik=f3a5c7a2b4&view=pt&search=all&perm{hid=thread-f:1780844234621716181%7Cmsg-a:r-80663096151791046...   8/13
             Case: 1:25-cv-00347-MWM-SKB     Doc #: 1-1 Filed: 05/23/25 Page: 36 of 50 PAGEID #: 43
                                     City of Hamilton, Ohio Maii - Re: Message from .-RNP002673EC6A3D"
26/01/2024, 10:17
     t understandwhyI havebeendeniedthisinformationasof 10/27/23.

       It's a shame that we will know if anyone else had requested the information from Officer Liesinger if it would have
       given to them. There would have been noindication itwas information in a pending case, so I guess thiswould been
       ok for someone else. However, since I specifically asked for this it's information itwas denied as part of an order not
       to give me anything. This order came from Lt.Tayforwho's the supervisor ofthe officers whose actions were being
       question bycftizen'onlywantingto seethetruth oftheevents, andnotMs. Geurin's supervisor Captain Chenoweth.
       This very unethical.

        Inspiteofailthisresistance bythe Hamilton Police Department i continued to placerequestforinformation and
        attempted tocommunicate inaneffective manner. Duetodelays in information being receivedother informationwas
        not available upon follow up information Request such as Lobyand Holding area Cameras.

        Most information received was only after contacting Mr. Tidyman to ensure his oversite. However, since Lt. Taylor
        wascopied on each email and Lt.taylor's view ofallowing meto view anyinformation isvery distorted. It'shard to
        determine exactly who was overseeing whom.

        I feitmy only recourse was to report this issue andtile a formal complaint Since, the Chiefknew about my Public
        Information Request, did not forward the request to the proper oversight as the policy dearly states, and also
        oversaw the incidentwhere i wasgiving evidence "man ongoing criminal investigation according to hisown
        department.

         i knoweither my rights orthe citizens rights have been terribly violated now . As I was apparently supplied with
         evidenceina citizenscasewhichas 11/01/22is still pendingin HamiltonMunicipalCourt. Alongwiththe outrageous
         actionsofthe members ofthe Hamilton Police Department. I felt a need to report these matters.

         Therefore,on 10/20/23I contactedScottScrimizziExecutiveDirectorofPublicSafetyforthecityofHamilton by
         phone. t began to teH Mr. Scrimizzi about thefacts ofthematter with my Public tnformation Request. As soon^s I
         told him the Chiefwas made aware ofmy Public Information Request and did notforward that request to the City
         Clerk soit maybe monitored. Mr. Scrimizzibecamevery loudandconiinualiyinterritpted mewhileI wasspeaking.
         Mr.Scrimizziaskedme if t hadevertalkedto the Chief.I told himno howeverI knewthechiefreceivedmy request
         and did not forward that to the city clerk for monitoring. I then began trying to explain what had transpired. Mr.
         Scrimizzi told me he was the Chief of police in Hamilton and that's not how things work. Mr. Scrimizzi flat out refused
         to believe me aboutthe chiefs actions. Mr. Scrimizzi told me my problem waswiththe officer and to contact Captain
         Trent Chenoweth, Hamiiton Police Department. 1 then asked how a Captain investigates the Chief and the reason i
         contacted Mr. Scrimizziwas dueto him beingchiefssupervisor. Mr. Scrimizzi told me Captain Chenoweth would
         handle the matter. He encouraged me not to talk to Captain Chenoweth or the Chief to ask them questions direct!^
          Hethen provided me the incorrect email address to Captain Chenoweth. After using a fewprofane words towards Mr.
          Scrimizzi on howt could not believe hewasrefusing to listen to or document a complaint on the Hamilton Police
          Departmentorthechiefofpolice. Beingthechiefofpolice'ssuperior ItwasobviousI couldn'tdoanythingbut
          contactCaptainChenoweth.TotheinvestigatethePoliceandChief.WhichsoundsverywrongallinofselfanI stilt
          don't understand how this is possible.

          After speakingwithMr. Scrimizzihebrought upa valid pointofmenotactually speaking tothe chiefdirectly. \ was
          ableto leavea messageforthe Chiefinspiteofa disablinganxietydisorderwitchwas mentioned to theCityClerk
          and the Records Department of my phobia of leaving messages on machines. I offered to provide this documentation
          by my doctor treating me forthis disorder to the records department andthey did notwish to seethem inthe repfy to
          my email. Thiswas afterthe records officejudged and chastised me for apparently making "several cails" inwhich 1
          only spoke withtwo people on two occasions in the records department thatweek. This canail beviewed inthe
          emails I have exchanged with the City of Hamilton, it can also be viewed how I believe my phone^calls to the non
          emergency number ofthe Hamilton Policewere ignoredon purpose as a meansofavoidingme.Thisconcernwas
          mentionedanddocumented by Mr-Ttdymanin a theemail I askedhimto generateregardingmy recordsrequeston
           09/26/23.

           Finally on 10/26/23 I received a phone call from the Chiefof Pdice ofthe Hamilton Police Department, i then asked
           the Chief if hewas made aware of my Public Information Request and covered my phone conversatfon with Mr.
           Scrimizzi.TheChieftold me hewasinfactmadeawareofmy PublicInformationrequest. I thenaskedhimifwhen
           we hung up ifhe could call Mr. Scrimizzi, because I didn'tcare if Mr. Scrimizzt thought I was an asshole. I just didn't
           want him to think I wasa tiertoo. I told the chiefI was impressed with his testicular fortitude forreturning my call
           because I didn't think hewould. The Chiefmade me awarethat Captain Chenoweth had received my email and
   httnc-//mfliinnnnler/>m/mai!/u/0/?ik=f3a5c7a2b4&view=Dt&search=ali&Dermthid=thread-f:17808442346217161fi1%7Cmsg-a:r-806630961517S104S...   9/13
             Case: 1:25-cv-00347-MWM-SKB
26/01/2024. 10:17                            Doc #:Ohio
                                     City of HamiSton, 1-1MaB
                                                           Filed:   05/23/25
                                                              - Re: Message from Page:   37 of 50
                                                                                 "RNP002673EC6A3D*                PAGEID #: 44
      would becontacting me in reference to filing a format conrtplaint. I then apologize to the Chiefthat it hadto come to
      filing a complaint

      On 10/30/23 1 finalize planes via email to meet Captain Chenoweth at the Hamilton Police Department to file my
      formalcomplaintwiththe Hamilton PoliceDepartmenton 11/01/23.

      I will provideyou thefollowing information ifitwould helpinyourinvestigation ofthe matter. All emails I haveand
      chainsfrom meto membersofemployeesofthe CityofHamiltonCouncilsoffice, HamiltonPoliceOfficers,and
      Membersofthe RecordsDepartment. I believeyou havetheseitems butI actuallywantto betransparentwithyou
       asyou have clearly notbeenwith me.
       t wi'lt provide you with a copy from my medical doctors record to as my to disability if you require proof of that also.

       I do notbelievethe actionsofthe HamiltonPoliceDepartmentasanentiredepartmentaremoral, ethical, or correct.
       1 also, do not believe the actions and representatives ofthe City of Hamilton are ethical, moral, and correct. Including
       the Hamilton PoliceDepartment Investigatingthe Hamilton PoliceDepartmentwith nooversight. Thisbeliefis based
       on the actions listed in the facts above in this complaint.

       Therefore I will be forwarding a copy ofthis complaint to CALEAfor their oversight ofthe matter concerning one of
       theiraccredited police departments for oversight andalsothe Department ofJusticefor theiroversight in the matter
       concerning thisformal complaint with Hamilton Police Department in regards to issues surrounding my Public
       Information Request an Civil Rights violation of a citizen in a pending ongoing criminal matter in the Hamilton
       MunicipalCourt. I willfuVycooperate withbothCALEAandthe Department ofJustice. 1 realizethey maynot have
       thepot'icyinformation I'm"referencing to inthiscomplaint, however I will providethem documentation tobothCALEA
       andthe Department Justice asfar records, recordings, and other documentation in my possession.

       Thefollowing arethedocuments believe applyto theviolation andsupport thefacts I'vepresented lodged in this
        complaint.

        1.Administrative Director No. 333-11-18-16
          Section 3a, 3b, 3c, 3e,3f
        2-Generai Order# RR-1.1
           1.1.1(1), 1. 1.2, 1. 1.3, 1.1.4(2(1. 2), 3, 4(1(1, 2),
           2.3), 1. 1.5(1.2.3,4)
        3-General Orderff RR-2.1
           Section2.1. 1 (#3/4/5/6/7), 2.1.2, 2.1.4,
           2.1.6, 2.1.7, 2. 1.8, 2.1.11. 2.1. 12
        4. General Order* RR-3.1
            Section3.1.1. 3. 1.3. 3. 1.4, 3. 1.5, 3. 1.6
            (#1,2.4,7, 14.)
        S.General Order# RR-4.1
          Section4.1.1 (1-5),4. 1.3 (2,3,5,6) 4.1.4
          4.1.5, 4. 1.6, 4. 1.8, 4. 1.9, 4. 1. 10, 4. 1.11,
          4. 1. 12, 4. 1. 13, 4. 1. 14 (3). 4. 1. 15
           4.1.15(4(1-2),5(1-5)
         S.General Order* RR-5.1
           Section5. 1.1. 5. 1.2, 5.1.3, 5. 1.4, 5. 1.7
            5. 1. 12(1(3), 5.1. 13,5. 1.20, 5. 1.21.
            5. 1.24(2, 3,4, 5,6, 10), 5. 1.26(1(1)
            1, 2,34). 2, 3, 6, 7, 9, 10, 12),
         7.General OrderS RR-5.3
           5.3.2, 5.3.4(1,3,5), 5.3.7(1-3),
           5.3.9(1(1-2).2), 5.3. 10(1),5.3.13
         S. HamiSton Police Department Mission
            Statement
         9.U. Taylor's email chain with Brittany
          Geurin on 09/26/23
         10-Hamilton Journal-Newsarticle by Lauren
             Packdate January20, 2022fitted
              "Chief:Hamilton police officer
             terminated for sexual activity while on
             duty"this newsarticle referencesan
   hftDS://ma!l.(i009le.com/maii/u/0/?ik=f3a5c7a2b4&view=pt&search=atl&perm{hid=thread-f:1780844234621716l81%7Cmsg-a:r-8066309615179104.., 10/13
              Case: 1:25-cv-00347-MWM-SKB
26/01/2024, 10:17                              Doc #:Ohio
                                      Cily of Hamilton, 1-1Mail
                                                            Filed:     05/23/25
                                                                - Re: Message       Page: 38 of 50
                                                                              from "RNP002673EC6A3D"                    PAGEID #: 45
         Officer terminated for fornicating while
         on duty in which an videowascirculated
         around the the department documenting
         the fact. While I'm sure both parties
         consented to this act
         where aware of the video,
          and it being circulated. This act was so
          heinous the officer was terminated. The
          Chief is quoted in the article as;
      "Thecommunity placestheirtrust in us andwhena memberofour organizationpurposelyviolatesthattrustthe
      consequences are swift and severe. While I am deeply disappointed and disturbed by this incident, I am incredibly
      proudofthe officerswhodiscovered and reported this misconductand our investigatorswhomoved quicklyto
      develop information that allowed me to act decisively," Bucheitsaid."
           I would hope the Hamilton Police
           Department would measure this
           issue with the same scrutiny as it clearly
           judges other officer, violator's, and
            citizens just attempting to get Public
            Information. This article is public record
            and can be found in the internet.

            1. Copy of the Sunshine Law, this is public record also found on the internet
            2. ORC Section 149.43, again public record
            3. United States Constitution, public record.
            4. General Order# TE 2.6
            5. ADAwebsiteregarding personswith disabilities, public record
            6. NIHwebsite regarding persons with disabilities, public record




       I would asked that email is acknowledged by the Hamilton Police Department as received with a date and time
       stamp. ! apologize for not meeting with Captain Chenoweth is person as I had planned in my emails. After completing
       documentingthese instancesI do notfeel eitherwelcomeor safevisitingthe Hamilton PoliceDepartmentin person
       at this time. This is due to the treatment and actionsofthe persons employed there and fearof retaliation in against
        my family or myself by the City bythe Hamilton Police Department due to documenting and reporting these actions.

        All statements I have made in this formal complaint are true and accurateto the best of my recollection,
        documentation, recordings available on 11/01/23.

        Jeff Pyfrin

        Sent from my iPhone


                On Oct 30, 2023, at 1:08 PM, Trent Chenoweth<trent.chenoweth@hamillon-oh.gov> wrote:



                I will be here on that date.

                Trent

                On Man, Oct 30, 2023 at 1:20AM Jeff Pyfrin <jpyfrin@hotmail. com> wrote:
                  j Trent,
                  !

                  I Thank you for providing this information. I will be in Hamilton on 11/01/23 and didn't know if I would
                    be ableto deliver a copyofmyformal complaintand documents personallyto you as I wouldlike a
                      time stamped copy as proof you have received all of of my documentation.

                      Ifthis is an unreasonable request I could always request the lobby camera as part of a Public
                      Information Request or capture the event on with my cellular phone.


  https://mai!. goog!e. com/mail/u/0/?ik=f3a5c7a2b4&view=pt&search=all&permthid=thread-f:1780844234621716181%7Cmsg-a:r-8066309615179104...   11/13
             Case: 1:25-cv-00347-MWM-SKB
26/01/2024, 10:17
                                            Doc #:Ohio
                                     Cityof Hamilton, 1-1Mail
                                                          Filed:    05/23/25
                                                              - Re: Message      Page: 39 of 50 PAGEID #: 46
                                                                            from "RNP002673EC6A3D"
                    Thankyou,
                    Jeff Pyfrin

                    Sent from my iPhone


                           On Oct 26, 2023, at 2:41 PM, Trent Chenoweth <trent. chenoweth@hamiltonoh. gov>
                           wrote:




                           Jeff,

                           I have attached our complaintform for your review. You can fill it out and attach any
                           supporting informationwhenyou drop it off.

                           Thanks,

                           Capt. Chenoweth

                                    " Forwarded message
                            From: <chiefsoffice@hamilton-oh. gov>
                            Date: Thu, Oct 26, 2023 at 2:36 PM
                            Subject: Message from "RNP002673EC6A3D"
                            To; Trent Chenoweth <trent. chenoweth@hamittonoh. gov>


                            This E-mail was sent from "RNP002673EC6A3D" (MP C307).

                            Scan Date: 10.26.2023 14:48:48(-0400)
                            Queries to: chiefsoffice@hamilton-oh. gov




                            Captain Trent C. Chenoweth, MBA, CLEE

                            Hamilton Police Department

                            Support Services Bureau Commander
                             331 S. Front Street

                             Hamilton, Ohio 45011

                             Office 513-868-5811ext. 1561

                             Fax 513-867-7317




                             <20231026144848659.pdf>




                    Captain Trent C. Chenoweth, MBA, CLEE


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             Case: 1:25-cv-00347-MWM-SKB
26/01/2024, 10:17
                                             Doc #: 1-1 Filed: 05/23/25 Page: 40 of 50 PAGEID #: 47
                                     City of Hamilton, Ohio Mail - Re: Message from "RNP002673EC6A3D"

               Hamilton Police Department

               Support Services Bureau Commander

                331 S. Front Street

                Hamilton, Ohio 45011

                Office 513-868-5811 ext. 1561
                Fax 513-867-7317




     Captain Trent C. Chenoweth, MBA/ CLEE

     Hamilton Police Department

     Support Services Bureau Commander

      331 S. Front Street

      Hamilton, Ohio 45011

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      Fax 513-867-7317




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Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 41 of 50 PAGEID #: 48




    Declarations of Service
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 42 of 50 PAGEID #: 49




    Declaration of Service for Craig Bucheit
    I, _,                                 declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the followingdocuments:
      - Summons and Complaint for Craig Bucheit

    3. 1 served these documents on:
     Name: Craig Bucheit
     Title/Position:
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method of Service [check one):
      [ ] Personal delivery
     [ ] Left at usual place ofabode with someone of suitable age and discretion
     [ ] Other (please specify):

    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on                       _, 20__, at

    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 43 of 50 PAGEID #: 50




    Declaration of Service for Trent Chenoweth
    I, _,                                  declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the following documents:
     - Summons and Complaint for Trent Chenoweth

    3. 1 served these documents on:
     Name: Trent Chenoweth
     Title/Position:
     Address:




    4. Date of Service:
    5. Time of Service:
    6. Method of Service (check one):
     [ ] Personal delivery
     [ ] Leftat usual place ofabodewithsomeone ofsuitableageanddiscretion
     [ ] Other [please specify):

    I declareunderpenaltyofperjury that the foregoingis true andcorrect.

    Executed on                       _, 20_, at_

    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 44 of 50 PAGEID #: 51




    Declaration of Service for Lieutenant Eric Taylor
    I, _,                                  declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the following documents:
      - Summons and Complaint for LieutenantEric Taylor

    3. 1 served these documents on:
     Name: Lieutenant Eric Taylor
     Title/Position:
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method of Service [check one):
     [ ] Personal delivery
     [ ] Left at usual place of abode with someone of suitable age and discretion
     [ ] Other [please specify):

    I declare under penalty ofperjury that the foregoingis true and correct.

    Executed on                       _, 20_, at.

    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 45 of 50 PAGEID #: 52




    Declaration of Service for Brittney Geurin
    I, _,                                  declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the following documents:
     - Summons and Complaint for Brittney Geurin

    3. 1 served these documents on:
     Name: Brittney Geurin
     Title/Position:
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method of Service [check one);
     [ ] Personal delivery
     [ ] Leftat usual place ofabodewith someone of suitable age and discretion
     [ ] Other [please specify):

    I declare under penalty of perjury that the foregoingis true and correct.

    Executed on                       _, 20_, at.

    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 46 of 50 PAGEID #: 53




    Declaration of Service for Shawn Fryman
    I, _,                                  declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the followingdocuments:
      - Summons and Complaint for ShawnFryman

    3. 1 served these documents on:
     Name: ShawnFryman
     Title/Position:
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method of Service (check one):
     [ ] Personal delivery
     [ ] Leftat usual place ofabodewith someone of suitable age and discretion
     [ ] Other (please specify):

    I declare under penalty of perjury that the foregoingis true and correct.

    Executed on                       _, 20_, at.


    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 47 of 50 PAGEID #: 54




    Declaration of Service for Scott Scrimizzi
    I, _,                                  declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the following documents:
     - Summons and Complaint for Scott Scrimizzi

    3. 1 served these documents on:
     Name: Scott Scrimizzi
     Title/Position:
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method ofService [check one):
     [ ] Personal delivery
     [ ] Left at usual place of abode with someone of suitable age and discretion
     [ ] Other (please specify):

    I declare under penalty ofperjury that the foregoingis true and correct.

    Executed on                       _, 20_, at


    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 48 of 50 PAGEID #: 55




    Declaration of Service for Brian Harrison
    I, _,                                 declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the followingdocuments:
      - Summons and Complaint for Brian Harrison

    3. 1 served these documents on:
     Name: Brian Harrison
     Title/Position:
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method of Service [check one):
     [ ] Personal delivery
     [ ] Leftat usual place ofabodewith someone ofsuitable age and discretion
     [ ] Other [please specify):

    I declare under penalty ofperjury that the foregoingis true and correct.

    Executed on                       _, 20_, at


    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 49 of 50 PAGEID #: 56




    Declaration of Service for City of Hamilton
    I, _,                                 declare:


    1. 1 am over the age of 18 and not a party to this action.
    2. 1 served the following documents:
      - Summons and Complaint for City of Hamilton

    3. 1 served these documents on:
     Name: City of Hamilton
     Title/Position:.
     Address:



    4. Date of Service:
    5. Time of Service:
    6. Method of Service [check one]:
     [ ] Personal delivery
     [ ] Leftat usual place ofabodewith someone ofsuitable age and discretion
     [ ] Other [please specify):

    I declare under penalty ofperjury that the foregoingis true and correct.

    Executed on                       _, 20_, at.

    Signature:
    Printed Name:
    Phone Number:
Case: 1:25-cv-00347-MWM-SKB Doc #: 1-1 Filed: 05/23/25 Page: 50 of 50 PAGEID #: 57




    Declaration of Service
    I, JeffPyfrin, declareunderpenalty ofperjury that I servedthe following document[s):

    . Complaint for Damages and Injunctive Relief
    . Civil Cover Sheet
    . Applicationto ProceedIn Forma Pauperis
    . Summons
    . Exhibit Packet [if applicable)

    on the following partypes) by:

    Method of Service: [ ] Personal Delivery [ ] Certified Mail [ ] U. S. Mail [ ] Other:.

    Name ofDefendant's] Served:

    Date of Service:

    Signature:

    PrintedName:JeffPyfrin

    Date:
